                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

In re:
                                                              Case No. 14-41173
SHELDON M. KORN,
                                                              Chapter 7
                       Debtor.
                                          /                   Judge Thomas J. Tucker

LAWRENCE C. LENCHNER, et al.,

                       Plaintiffs,

vs.                                                           Adv. Pro. No. 14-4408

SHELDON M. KORN,

                       Defendant.
                                         /

      OPINION REGARDING PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

         This adversary proceeding is before the Court on Plaintiffs’ motion for summary

judgment (Docket # 27, the “Motion”),1 seeking summary judgment on Counts IV through VIII

of Plaintiffs’ complaint.2 These counts seek a determination that a debt of over $1.9 million to

Plaintiffs, arising out of a state court judgment, is nondischargeable in Defendant’s bankruptcy

case under 11 U.S.C. §§ 523(a)(2)(A) (Counts IV (false pretenses), V (false representation), and

VI (actual fraud)); 523(a)(4) (Count VII); and 523(a)(6) (Count VIII). Plaintiffs argue that they

are entitled to judgment on these counts based on the doctrine of collateral estoppel.



         1
         The Motion amended and superceded the Plaintiffs’ motion for summary judgment filed at
Docket # 26.
         2
           Plaintiffs’ complaint (Docket # 1) contained eight counts. Counts I-III of the complaint
objected to Defendant’s discharge under various provisions of Bankruptcy Code § 727(a). Those counts
were dismissed, by stipulation of the parties. (See Docket # 46.)



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        The Court concludes that Plaintiffs are not entitled to summary judgment in any respect,

on any count of their complaint. Plaintiffs’ Motion will be denied in its entirety.

I. Facts

        Plaintiff Lawrence Lenchner (“Lenchner”) is the brother-in-law of Defendant Sheldon

Korn (“Sheldon”). Prepetition, Lenchner was involved in the development and sale of real estate

with some limited liability companies Lenchner had formed (the “Lenchner Entities”). Lenchner

and the Lenchner Entities had a business relationship with Sheldon; Sheldon’s wife, Gale Korn;

and Sheldon’s two daughters, Shauna Korn and Ashley Korn (collectively, the “Korns”); and the

Korn Family Limited Partnership (“KFLP”).3 The business relationship ended on a sour note in

December 2002, when Lenchner ceased his association with the Korns.

A. The state court litigation

1. The complaint and counterclaim

        The Korns and KFLP responded to the collapse of the business relationship by filing a

complaint against Lenchner and the Lenchner Entities in the Circuit Court for the County of

Charlevoix, Michigan, on January 15, 2003 (Case No. 03-1723-19-CB, the “State Court

Lawsuit”).4 The state court proceedings were extensive and lengthy, and the collateral estoppel

issues discussed in this opinion require the Court to describe the state court proceedings in detail.

        The complaint by the Kerns and KFLP in the State Court Lawsuit included the following


        3
          KFLP is “a Michigan limited partnership of which . . . Sheldon Korn is the general partner and
of which [Gale Korn, Shauna Korn, and Ashley Korn] are the limited partners.” (See Ex. A to Mot.
(Docket # 27) (“Third Amended Complaint” in state court litigation between the parties) at 2 ¶ 1.)
        4
          A copy of the “Third Amended Complaint,” which was the operative complaint in the State
Court Lawsuit when judgment was entered by the state court, is attached to the Motion (Docket # 27) at
Exhibit A.

                                                   2



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counts:

          •     Count I — “Money Owing For Advances”
          •     Count III [sic] — “Conversion”
          •     Count IV — “Liability Under [Mich. Comp. Laws §] 600.2919a”
          •     Count V — “Misrepresentation (Fraudulent Or Innocent)”
          •     Count VI — “Silent Fraud”
          •     Count VII — “Bad Faith Promises”
          •     Count VIII — “Breach Of Fiduciary Duty”
          •     Count IX — “Tortious Interference”
          •     Count X — “Discharge/Termination In Violation of Public Policy, Or Alternatively,
                Violation of The Whistle-Blowers’ Protection Act”
          •     Count XI — “Civil Conspiracy”
          •     Count XII — “Breach of Contract”
          •     Count XIII — “Promissory Estoppel”
          •     Count XIV — (not titled but alleging in relevant part, that “[a]s an alternative and/or
                in addition to Plaintiffs’ right to recover under the foregoing Counts, Plaintiffs
                Sheldon and Gale Korn may be equitably entitled to own 50% of Business or of each
                Defendant, except for Defendant Lenchner.”5

          Lenchner and the Lenchner Entities responded to the state court complaint against them,

in part, by filing counterclaims against the Korns and KFLP, alleging:

          •     Count I — “Conversion”
          •     Count II — “Civil Conspiracy to Commit Conversion”
          •     Count III — “Breach of Fiduciary Duty”
          •     Count IV — “Civil Conspiracy to Commit Breach of Fiduciary Duty”
          •     Count V — “Fraud”
          •     Count VI — “Silent Fraud”
          •     Count VII — “Innocent Misrepresentation”
          •     Count VIII — “Conspiracy to Commit Fraud, Silent Fraud and Innocent
                Misrepresentation”
          •     Count IX — “Promissory Estoppel”
          •     Count X — “Unjust Enrichment”
          •     Count XI — “Constructive Trust.”6

          The basic facts alleged by Lenchner and the Lenchner Entities in support of their



          5
              See Third Am. Compl. (Ex. A to Mot. (Docket # 27)).
          6
              See Ex. B to Mot. (Docket # 27) (“Counterclaim” in State Court Lawsuit) at pdf. pp. 79-88.

                                                       3



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counterclaims were that the Korns, individually and through KFLP, engaged in a common

scheme to defraud Lenchner and the Lenchner Entities, under which the Korns and KFLP (1)

misrepresented to Lenchner and the Lenchner Entities that they were spending money Sheldon

withdrew from the bank accounts of the Lenchner Entities for business purposes only, when in

fact they were draining such accounts for personal use; and (2) failed to disclose to Lenchner and

the Lenchner Entities that they intended to loot, and were looting, the Lenchner Entities.7

Lenchner and the Lenchner Entities alleged further that they “reasonably relied upon the

misrepresentations and fraudulent omissions made to them by Sheldon Korn” due to the family

relationship between Lenchner and the Korns, and that Lenchner and the Lenchner Entities

suffered damages as a result of the fraudulent scheme.8 Lenchner and the Lenchner Entities

alleged that under their fraudulent scheme, the Korns and KFLP “drain[ed] over $700,000 from

[the bank] accounts [of some of the Lenchner Entities] for personal use.”9

2. The trial of the State Court Lawsuit

       The state court conducted a 13-day jury trial in the State Court Lawsuit. Before jury

deliberation began, both the Korns and KFLP on the one hand, and Lenchner and the Lenchner

Entities on the other hand, dismissed their civil conspiracy claims against each other.

a. The jury instructions

       After all of the evidence and arguments in the State Court Lawsuit were completed, the

state court gave, in relevant part, the following instructions to the jury regarding the


       7
           See id. at pdf. pp. 75-76, 82-84.
       8
           Id. at pdf. pp. 75, 83-84.
       9
           Id. at pdf. p. 75.

                                                   4



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counterclaims of Lenchner and the Lenchner Entities.

I. Fraud and Misrepresentation

        The state court’s jury instruction regarding fraud was, in relevant part, the following:

                To establish fraud, plaintiffs and counter-plaintiffs have the burden
                of proving each of the following elements by clear and convincing
                evidence:

                       A. The defendant or counter-defendant made a representation
                of a material fact.

                        B. The representation was false when it was made.

                       C. The defendant or counter-defendant knew the
                representation was false when it was made or that it was made
                recklessly, that is, without knowing whether it was true.

                       D. The defendant or counter-defendant made the
                representation with the intent that the plaintiff or counter-plaintiff
                would rely on it.

                       E. The plaintiff or counter-plaintiff did rely on the
                representation, and;

                        F. That the plaintiff or counter-plaintiff was damaged as a
                result of its reliance.10

ii. Silent fraud

        The jury instruction regarding silent fraud was, in relevant part, as follows:

                         Each plaintiff and counter-plaintiff claims that a defendant
                or counter-defendant defrauded that plaintiff or counter-plaintiff by
                failing to disclose material facts. To establish this, each plaintiff
                and counter-plaintiff has the burden of proving each of the
                following evidence (sic) by clear and convincing evidence:



        10
            Trial Tr. in State Court Lawsuit (dated May 26, 2006) at 77 ln. 21 through 78 ln. 11. A copy
of the state court trial transcript is attached to the Motion (Docket # 27) at Exhibit G and to Sheldon’s
objection to the Motion (Docket # 37) at Exhibit 1.

                                                    5



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                        A. That the defendant or counter-defendant failed to
                 disclose a material fact.

                       B. The defendant or counter-defendant had actual
                 knowledge of the fact.

                         C. The defendant’s or counter-defendant’s failure to
                 disclose the fact caused the plaintiff or counter-plaintiffs to have a
                 false impression.

                         D. When the defendant or counter-defendant failed to
                 disclose the fact, that defendant or counter-defendant knew the
                 failure would create a false impression.

                         E. When the defendant or counter-defendant failed to
                 disclose the fact, that defendant or counter-defendant intended that
                 the plaintiff or counter-plaintiff rely on the resulting false
                 impression.

                        F. That the plaintiff or counter-plaintiff relied on the false
                 impression, and;

                         G. That the plaintiff or counter-plaintiff was damaged as a
                 result of such reliance.11

       With respect to the reliance element of both fraud and silent fraud, the state court

instructed:

                 Reliance. When I use the word relied, I mean the plaintiff or coun-
                 ter-plaintiff would not have entered into the agreement or contin-
                 ued the agreement if defendant or counter-defendant had not made
                 the representation or promises, even if the representation or prom-
                 ises was not the only reason for the plaintiff or counter-plaintiff’s
                 action.12

iii. Unjust enrichment

       The jury instruction for unjust enrichment was, in relevant part, as follows:


       11
            Id. at 78 ln. 20 through 79 ln. 18.
       12
            Id. at 80 lns. 9-14.

                                                    6



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                       To establish a claim of unjust enrichment, the
                counter-plaintiffs must prove:

                       1. Receipt of a benefit by the counter-defendants from the
                counter-plaintiffs, and;

                        2. An inequity to the counter-plaintiffs resulting because of
                the retention of the benefit by the counter-defendants.

                        When . . . unjust enrichment exists, the law operates to
                imply a contract in order to prevent the unjust enrichment.
                However, if you find that an actual express contract was entered
                into by the parties covering the same subject matter, you may not
                allow the counter-plaintiffs to recover under the theory of unjust
                enrichment.13

iv. Breach of fiduciary duty

      The jury instruction regarding breach of fiduciary duty was as follows:

                The plaintiffs and counter-plaintiffs have alleged that each has
                breached their fiduciary relationship with the other. Plaintiffs and
                counter-plaintiffs have the burden to prove:

                         1. The existence of a fiduciary relationship.

                         2. Defendant or counter-defendant’s breach.

                       3. Plaintiff or counter-plaintiffs were damaged as a result of
                defendant or counter-defendant’s breach.

                        Your verdict will be for the plaintiffs or counter-plaintiffs if
                you find that each of these elements has been proved. If you find
                for the plaintiffs, you must determine the amount of actual
                damages resulting from the defendants[’] or counter-defendants[’],
                breach of their fiduciary duties that will place plaintiffs or
                counter-plaintiffs in the economic position that they would have
                enjoyed but for the breach. Your verdict will be for the defendants
                or counter-defendants if you find that the plaintiffs or
                counter-plaintiffs have failed to prove any one of these elements.



      13
           Id. at 84 lns. 5-18.

                                                   7



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                       When I use the word fiduciary duty, I mean any of the
                following:

                        1. Defendants and counter-defendants had an obligation or
                duty to act with the utmost good faith and integrity in their dealings
                with the plaintiffs or counter-plaintiffs in their partnership
                relationship.

                        2. Defendants and counter-defendants had an obligation or
                duty to disclose all known information that is significant and
                material to the affairs or property of the partnership relationship,
                or;

                        3. Defendants and counter-defendants had an obligation or
                duty to account to the partnership for any benefit and hold as
                trustee for it any profits derived by them without the consent of the
                plaintiffs and counter-plaintiffs or the other partners from any
                transaction connected with the conduct of the partnership or from
                any use by themselves of partnership property.

                         When I use the word[ ] breach, I mean any of the following:

                        1. The defendants failed to fulfill their obligations or duties
                to act with the utmost good faith and integrity in their dealings with
                one another in partnership affairs.

                        2. The defendants failed to fulfill their obligations or duty
                to disclose all known information that is significant and material to
                the affairs or property of the partnership, or;

                       3. The defendants failed to fulfill their obligation or duty to
                account to the partnership for any benefit and hold as trustee for it
                any profits derived by them without the consent of the plaintiffs or
                other partners from any transaction connected with the conduct or
                partnership . . . or from any use by themselves of partnership
                property.14

v. Exemplary damages

      Regarding exemplary damages, the state court instructed the jury, in relevant part, as



      14
           Id. at 87 ln. 8 through 89 ln. 9.

                                                  8



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follows:

                         In addition to actual damages, the law permits the jury,
                 under certain circumstances, to award the injured party exemplary
                 damages. If you should find, by a preponderance of the evidence,
                 that a plaintiff or counter-plaintiff is entitled to a verdict of actual
                 or compensatory damages and further find that the defendants’ or
                 counter-defendants’ acts which caused actual damages to the
                 plaintiff or counter-plaintiff were maliciously, willfully, and
                 wantonly done, then you may add to the award of actual damages
                 an amount you agree is proper as exemplary damages.

                         An act or failure to act is maliciously done if prompted or
                 accompanied by ill-will, spite or grudge toward the injured party.
                 An act or a failure to act is wantonly done if done in reckless or
                 callous disregard of or indifference to the rights of one or more
                 persons, including the injured party. An act or a failure to act is
                 willfully done if done voluntarily and intentionally and with
                 specific intent to do something the law forbids.15

b. The jury verdict forms

       After deliberating, the jury rejected all of the claims of the Korns and KFLP, and returned

a verdict on the counterclaims in favor of Lenchner and the Lenchner Entities, against the Korns

and KFLP, in the total amount of $1,745,000. The jury also returned a verdict in favor of

Lenchner and the Lenchner Entities against “Sheldon Korn and/or Gale Korn” only for breach of

fiduciary duty, in the amount of $250,000.

       On the jury verdict forms, the jury answered questions regarding counterclaims, as

follows (the jury’s answers are in bold):

                 FRAUD AND MISREPRESENTATION

                       QUESTION NO. 1: Did Plaintiffs/Counter-Defendants,
                 The Korn Family Limited Partnership and/or Sheldon Korn and/or
                 Gale Korn and/or Shauna Korn and/or Ashley Korn commit an act


       15
            Id. at 76 ln. 24 through 77 ln. 18.

                                                     9



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           or acts of fraud and misrepresentation against Defendants/Counter-
           Plaintiffs?

                  ANSWER: YES

                 QUESTION NO. 2: What is the
           Defendants/Counter-Plaintiffs' total damages?

                  ANSWER :

                         AMOUNT $250,000

           SILENT FRAUD

                  QUESTION NO. 1: Did Plaintiffs/Counter-Defendants,
           The Korn Family Limited Partnership and/or Sheldon Korn and/or
           Gale Korn and/or Shauna Korn and/or Ashley Korn commit silent
           fraud against Defendants/Counter-Plaintiffs?

                  ANSWER: YES

                   QUESTION NO. 2: What is the
           Defendants/Counter-Plaintiffs' total amount of damages arising out
           of the Plaintiffs’ silent fraud?

                  ANSWER :

                         AMOUNT $1,070,000

           UNJUST ENRICHMENT

                   QUESTION NO. 1: Were Plaintiffs/Counter-Defendants,
           The Korn Family Limited Partnership and/or Sheldon Korn and/or
           Gale Korn and/or Shauna Korn and/or Ashley Korn either together
           or any one of them individually, unjustly enriched in obtaining
           money from Defendants/Counter-Plaintiffs?

                  ANSWER: YES

                   QUESTION NO. 2: What is the
           Defendants/Counter-Plaintiffs’ total amount of damages arising out
           of the Plaintiffs' unjust enrichment?



                                           10



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                         ANSWER :

                                 AMOUNT $175,000

                  BREACH OF FIDUCIARY DUTY

                        QUESTION NO. 1: Did Plaintiffs/Counter-Defendants
                  Sheldon Korn and/or Gale Korn owe a fiduciary duty to
                  Defendants/Counter-Plaintiffs?

                         ANSWER: YES

                         QUESTION NO. 2: Did Plaintiffs/Counter-Defendants
                  Sheldon Korn and/or Gale Korn breach his/her/their fiduciary duty
                  to Defendants/Counter-Plaintiffs?

                         ANSWER: YES

                          QUESTION NO. 3: What is the Defendants/Counter-
                  Plaintiffs’ total damages?

                         ANSWER:

                                 AMOUNT $250,00016

        There was also a jury verdict for $250,000 in exemplary damages against the Korns and

KFLP. That verdict form is not in the record in this adversary proceeding, however, because

none of the parties could locate it or obtain a copy of it.17 But there is in the record an excerpt of

the state court trial transcript, where that verdict form was read by the jury foreperson on the

record. It states:

                  [JURY FOREPERSON:] Form of verdict, exemplary damages.
                  We, the jury, make the following answers to the questions


        16
          Jury Verdict Forms (bold emphasis added). A copy of the jury verdict forms for Lenchner’s
and the Lenchner Entities’ counterclaims is attached as Exhibit H to the Motion (Docket # 27) at pdf. pp.
248-53.
        17
             See “Declaration in Support of Plaintiffs’ Motion for Summary Judgment” (Docket # 57).

                                                   11



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                 submitted by the Court:

                 Question No. 1: Are defendants/counter-plaintiffs, either together
                 or individually, entitled to exemplary damages?

                 Answer: Yes.

                 Questions No. 2: What is defendants/counter-plaintiffs’ total
                 amount of exemplary damages?

                 Answer: Two hundred and fifty-thousand dollars.18

c. The State Court Judgment

       Based on the jury verdict, the state court entered a judgment in the State Court Lawsuit on

July 28, 2006 (the “Judgment”), which provides, in relevant part:

                         IT IS THEREFORE ORDERED AND ADJUDGED that
                 Plaintiffs take nothing, and their Complaint shall be dismissed on
                 the merits, and that Defendants recover from Plaintiffs all taxable
                 costs.

                        IT IS FURTHER ORDERED AND ADJUDGED that
                 Defendants recover from Plaintiffs, the Korn Family Limited
                 Partnership, and/or Sheldon Korn and/or Gale Korn and/or Shauna
                 Korn and/or Ashley Korn, the sum of $1,745,000.00 with interest
                 thereon at the rate provided by law, from the date of the filing of
                 the Counter-Complaint, plus all taxable costs.

                          IT IS FURTHER ORDERED AND ADJUDGED that
                 Defendants recover from Plaintiff, Sheldon Korn, and/or Gale
                 Korn, the sum of $250,000, with interest thereon at the rate
                 provided by law, from the date of the filing of the Counter-
                 Complaint, in addition to the sum stated in the preceding paragraph
                 of this Judgment, plus all taxable costs.19

       After entry of the Judgment, KFLP and the Korns filed a motion for a judgment


       18
            See Ex. G to Docket # 27 at 103 lns. 15-24.
       19
         Judgment (emphasis in original) (Ex. D to Mot. (Docket # 27)) at pdf. pp. 180-82. A copy of
the Judgment is also attached to the adversary complaint (Docket # 1) at Exhibit 1.

                                                    12



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notwithstanding the verdict, remittitur, or new trial, which the state trial court denied.

d. The appeal

1. The Michigan Court of Appeals

       KFLP and the Korns appealed all aspects of the Judgment against them, except the

$175,000 amount for unjust enrichment. Thus, they appealed the Judgment components for

silent fraud in the amount of $1,070,000; for fraud and misrepresentation in the amount of

$250,000; for breach of fiduciary duty in the amount of $250,000, and for exemplary damages in

the amount of $250,000. Among the arguments KFLP and the Korns made to the Michigan

Court of Appeals (the “Court of Appeals”) (Case No. 272813) are the following:

       C     “[T]he trial court erred by denying their motions for directed verdict and JNOV
             regarding [Lenchner’s and the Lenchner Entities’] claims of (A) fraud and (B) silent
             fraud.”20

       C     “[A]ll plaintiffs may not be found liable for any fraud that Sheldon alone
             perpetrated.”21 (The Korns and KLFP asserted that Lenchner and the Lenchner
             Entities “presented no evidence at trial that Gale, Shauna, or Ashley made a false
             statement on which Lenchner or [the Lenchner Entities] reasonably relied.”)22

       C     “[Lenchner’s and the Lenchner Entities’] concert of action theory is unavailable
             because [Lenchner and the Lenchner Entities] voluntarily dismissed separate
             independent claims of civil conspiracy.”23

       C      One of Lenchner’s and the Lenchner Entities’ theories of fraud; namely, that
             “Sheldon agreed to act like a partner but did not,” could “not support a judgment of
             fraud because it was a promise only actionable for breach of contract, not fraud.”24


       20
            Jan. 29, 2008 Ct. of Appeals Op. (attached to the Motion (Docket # 27) at Exhibit E) at 2.
       21
            Id. at 3.
       22
            Id.
       23
            Id. at 4.
       24
            Id. at 4-5.

                                                    13



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        C     “[Lenchners’ and the Lenchner Entities’] theory of fraud cannot sustain a judgment
              against all plaintiffs other than Sheldon because there was no proof of agency
              between Sheldon and the other plaintiffs [(Gail, Ashley, and Shauna Korn, and
              KFLP)].25

        C     “[T]he trial court committed plain error by not instructing the jury with M Civ JI
              41.01 and M Civ. JI 41.02. This error . . . was compounded by the ‘and/or’ verdict
              form used [in the case] and resulted in manifest injustice.”26

        C     “[T]he ‘and/or’ verdict form permitted the jury to award exemplary damages without
              finding the requisite malicious, willful and wanton conduct.”27

        C     “The evidence did not support awarding exemplary damages against Gale, Shauna,
              Ashley and KFLP.”28

        On January 29, 2008, the Court of Appeals issued a written opinion rejecting all of these

arguments, as well as all of the other arguments the Korns and KFLP made on appeal, and




        25
             Id. at 5.
        26
             Id. at 9. The Court of Appeals quoted these two jury instructions:

                   M Civ JI 41.01 (Two or More Defendants - Separate Consideration -
                   Repeating Instructions) provides: “There are [number] defendants in this
                   trial. Each defendant is entitled to separate consideration of [his / or /
                   her] own defense. I shall not repeat my instructions for each defendant.
                   Unless I tell you otherwise, all instructions apply to each defendant.”

                    M Civ JI 41.02 (Damages Where There Is No Allocation of Fault
                   Between Defendants) provides: “If you find one of the defendants to be
                   liable, you shall determine the amount of damages [he / or / she] caused
                   and return a verdict in that amount. If you find more than one of the
                   defendants to be liable, you shall return a separate verdict for the amount
                   of damages you determine each defendant caused.”

Id. at 9 nn.4-5.
        27
             Id. at 9-10.
        28
             Id. at 10.

                                                       14



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affirming the Judgment in its entirety.29

       The Court of Appeals interpreted the language on the “[jury] verdict forms naming each

plaintiff and/or the other plaintiffs” [i.e., KFLP and the Korns] for each counterclaim count, and

the same language in the Judgment, to mean that the Judgment was “against all plaintiffs jointly

and severally” in the total amount of $1,745,000, plus interest and taxable costs.30 And the Court

of Appeals held, in relevant part, that:

       •     “defendants’ legal theories that all plaintiffs are liable for fraud and silent fraud [are]
             sound and supported by evidence, which if viewed in the light most favorable to
             defendants, supports the jury verdict.”31

       •     all plaintiffs could be liable for fraud if any one of them committed fraud because
             “[d]efendants theorized that all [the] Korns and KFLP were acting in concert to loot
             defendant companies for personal benefit” and “‘where there is evidence that parties
             are acting in collusion, “[e]verything said, done, or written by any one of the parties to
             the combination, in furtherance of the common purpose, is deemed the act of all.”’”32

       •     defendants’ concert of action theory is available even though “defendants voluntarily
             dismissed separate independent claims of civil conspiracy.”33 This is so because

                           [t]he . . . concert of action theory does not depend
                           on proving an independent claim of civil
                           conspiracy. It requires evidence that parties
                           knowingly acted to further a common purpose, in
                           this case, to siphon company assets for the Korn
                           family’s personal use and benefit. Here, there was
                           evidence from which the jury could infer all Korns
                           knowingly participated in a common fraudulent
                           scheme. There was testimony from Sheldon, Gale,


       29
            Id. at 2.
       30
            Id. at 2.
       31
            Id. at 2-3.
       32
            Id. at 3 (citations omitted).
       33
            Id. at 4.

                                                    15



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                        and Shauna from which the jury could infer that the
                        Korn family operated as a unit in its business
                        dealings regarding the Lenchner companies.
                        Further, there was testimony from which the jury
                        could infer that Sheldon, Gale and Shauna
                        participated in the fraudulent scheme. For example,
                        there was evidence that Sheldon wrote checks to
                        Gale for hundreds of thousands of dollars on
                        company accounts, that Gale deposited the funds
                        into KFLP (comprised of all Korn family members),
                        and from which all family members could freely
                        draw funds.34

          The Court of Appeals stated further: “While both sides dismissed
          independent tort claims of civil conspiracy before submitting the case to
          the jury, this did not lessen the principle . . . regarding joint liability of
          codefendants for each others’ acts (in this case co-plaintiffs) when engaged
          in a common fraudulent scheme.”35

    •     defendants’ theory of fraud based on an alleged unfulfilled promise by Sheldon to act
          like a partner supports a judgment for fraud because although “[f]uture promises are
          contractual and do not constitute fraud . . . ‘an unfulfilled promise to perform in the
          future is actionable when there is evidence that it was made with a present
          undisclosed intent not to perform’” and “the jury could reasonably have determined
          from the evidence that Sheldon never intended to fulfill his promise, intended
          Lenchner to rely and act on it, and that Lenchner and [the Lenchner Entities]
          reasonably relied on the false promise and were thereby defrauded.”36

    •     defendants’ concert of action theory did not depend on them asserting that an agency
          relationship existed between Sheldon and his other family members for the same
          reason that such theory did not depend on defendants asserting a civil conspiracy
          claim; namely because “defendants posited that the Korns acted in concert to
          perpetrate a common fraudulent scheme.”37

    •     “the jury could reasonably have concluded that Lenchner reasonably relied on the
          false impression created by the Korns, so he continued funding the companies, and as

    34
         Id. (citations omitted).
    35
         Id. at 8.
    36
         Id. at 5 (citation omitted).
    37
         Id. at 5.

                                                16



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             a result, sustained over a million dollars in damages.”38

       •     “plaintiffs waived any error regarding the ‘and/or’ verdict form and a determination of
             each individual plaintiff’s liability[.]”39

       •     because “plaintiffs apparently concede by not arguing to the contrary that the evidence
             at trial supported an award of exemplary damages against Sheldon [and] [b]ecause
             plaintiffs waived any error regarding the ‘and/or' verdict form and a determination of
             each individual plaintiff's liability[,]” exemplary damages were properly awarded
             against all the plaintiffs.40

2. The Michigan Supreme Court

       After the Michigan Court of Appeals affirmed the Judgment, KFLP and the Korns sought

leave to appeal from the Michigan Supreme Court. On July 29, 2008, the Michigan Supreme

Court denied such application.41

B. Sheldon’s bankruptcy case

       On January 29, 2014, Sheldon filed a voluntary petition for relief under Chapter 7.

Plaintiffs filed this adversary proceeding, seeking a determination that the Judgment debt to them

is not dischargeable in Sheldon’s bankruptcy case.

II. Jurisdiction

       This Court has subject matter jurisdiction over this adversary proceeding under 28 U.S.C.

§§ 1334(b), 157(a) and 157(b)(1), and Local Rule 83.50(a) (E.D. Mich.). This is a core

proceeding under 28 U.S.C. §§ 157(b)(1) and 157(b)(2)(I).

       This proceeding also is “core” because it falls within the definition of a proceeding

       38
            Id.
       39
            Id. at 10.
       40
            Id.
       41
            See Ex. F to Mot. (Docket # 27).

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“arising under title 11” and of a proceeding “arising in” a case under title 11, within the meaning

of 28 U.S.C. § 1334(b). Matters falling within either of these categories in § 1334(b) are

deemed to be core proceedings. See Allard v. Coenen (In re Trans-Industries, Inc.), 419 B.R. 21,

27 (Bankr. E.D. Mich. 2009). This is a proceeding “arising under title 11” because it is “created

or determined by a statutory provision of title 11,” id., namely, 11 U.S.C. §§ 523(a)(2), 523(a)(4),

and 523(a)(6), discussed below. And this matter is a proceeding “arising in” a case under title 11,

because it is a proceeding that “by [its] very nature, could arise only in bankruptcy cases.” Id.

III. Discussion

A. Summary judgment standard

       Fed. R. Civ. P. 56(a), made applicable to bankruptcy adversary proceedings by Fed. R.

Bankr. P. 7056, provides that “[t]he court shall grant summary judgment if the movant shows

that there is no genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law.” As this Court has noted previously,

               In Cox v. Kentucky Dep't of Transp., 53 F.3d 146, 149–50 (6th
               Cir.1995), the court elaborated:

                       The moving party has the initial burden of proving
                       that no genuine issue of material fact exists and that
                       the moving party is entitled to judgment as a matter
                       of law. To meet this burden, the moving party may
                       rely on any of the evidentiary sources listed in Rule
                       56(c) or may merely rely upon the failure of the
                       nonmoving party to produce any evidence which
                       would create a genuine dispute for the [trier of fact].
                       Essentially, a motion for summary judgment is a
                       means by which to challenge the opposing party to
                       ‘put up or shut up' on a critical issue.

                       If the moving party satisfies its burden, then the
                       burden of going forward shifts to the nonmoving


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                      party to produce evidence that results in a conflict
                      of material fact to be resolved by [the trier of fact].
                      In arriving at a resolution, the court must afford all
                      reasonable inferences, and construe the evidence in
                      the light most favorable to the nonmoving party.
                      However, if the evidence is insufficient to
                      reasonably support a . . . verdict in favor of the
                      nonmoving party, the motion for summary judgment
                      will be granted. Thus, the mere existence of a
                      scintilla of evidence in support of the plaintiff's
                      position will be insufficient; there must be evidence
                      on which the [trier of fact] could reasonably find for
                      the plaintiff.
                      ...

                      Finally, the Sixth Circuit has concluded that, in the
                      “new era” of summary judgments that has evolved
                      from the teachings of the Supreme Court in
                      Anderson [v. Liberty Lobby, Inc., 477 U.S. 242, 106
                      S.Ct. 2505, 91 L.Ed.2d 202 (1986)], Celotex [Corp.
                      v. Catrett, 477 U.S. 317, 106 S.Ct. 2548, 91
                      L.Ed.2d 265 (1986)] and Matsushita [Electric
                      Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S.
                      574, 106 S.Ct. 1348, 89 L.Ed.2d 538 (1986)], trial
                      courts have been afforded considerably more
                      discretion in evaluating the weight of the
                      nonmoving party’s evidence. The nonmoving party
                      must do more than simply show that there is some
                      metaphysical doubt as to the material facts. If the
                      record taken in its entirety could not convince a
                      rational trier of fact to return a verdict in favor of
                      the nonmoving party, the motion should be granted.

              Id. (internal quotation marks and citations omitted). In determining
              whether the moving party has met its burden, a court must “believe
              the evidence of the nonmovant, and draw all justifiable inferences
              in favor of the nonmovant.” Ingram v. City of Columbus, 185 F.3d
              579, 586 (6th Cir.1999) (relying on Russo v. City of Cincinnati,
              953 F.2d 1036, 1041–42 (6th Cir.1992)).

McCallum v. Pixley (In re Pixley), 456 B.R. 770, 774-75 (Bankr. E.D. Mich. 2011)(“Pixley I”).

B. Collateral estoppel


                                                19



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       The Motion requires the Court to decide whether, under the doctrine of collateral

estoppel, the Judgment precludes Sheldon from contesting the nondischargeability of the debt he

owes to Plaintiffs under 11 U.S.C. §§ 523(a)(2), 523(a)(4), and/or 523(a)(6). Collateral estoppel

applies in nondischargeability proceedings under § 523(a) of the Bankruptcy Code, such as this

one. See Grogan v. Garner, 498 U.S. 279, 284 n.11 (1991). As this Court noted in Pixley I,

               “Collateral estoppel . . . prevents a party from relitigating issues of
               fact or law which were necessarily decided by a previous final
               judgment.” Smith v. Sushka, 117 F.3d 965, 969 (6th Cir.1997). In
               determining whether a state court judgment precludes relitigation
               of issues under the doctrine of collateral estoppel, the Full Faith
               and Credit Statute, 28 U.S.C. § 1738,2 requires bankruptcy courts
               to “‘consider first the law of the State in which the judgment was
               rendered to determine its preclusive effect.’” Bay Area Factors v.
               Calvert (In re Calvert ), 105 F.3d 315, 317 (6th Cir.1997) (quoting
               Marrese v. Am. Acad. of Orthopaedic Surgeons, 470 U.S. 373,
               375, 105 S.Ct. 1327, 84 L.Ed.2d 274 (1985)). If the state courts
               would not deem the judgment binding under collateral estoppel
               principles, then the bankruptcy court cannot do so either. But if the
               state courts would give preclusive effect to the judgment, then the
               bankruptcy court must also give the judgment preclusive effect,
               “unless Congress has expressly or impliedly created an exception
               to § 1738 which ought to apply to the facts before the federal
               court.” Id. (citing Marrese, 470 U.S. at 386, 105 S.Ct. 1327).

                       In Calvert, the Sixth Circuit held that there is no such
               express or implied exception under § 1738 in dischargeability
               actions. The court found no indication of such an exception “in the
               Bankruptcy Code or legislative history.”
               _________________________________________________
               2

                   The Full Faith and Credit Statute provides in relevant part:

                        The . . . judicial proceedings of any court of any . . .
                        State . . . shall have the same full faith and credit in
                        every court within the United States . . . as they
                        have by law or usage in the courts of such State ...
                        from which they are taken.


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               28 U.S.C. § 1738.

Pixley I, 456 B.R. at 775-76.

       Because the Judgment at issue was entered in the Charlevoix Circuit Court in the state of

Michigan, the Court must look to Michigan law to determine the collateral estoppel effect of that

Judgment.

                      Under Michigan law, the following requirements must be
               met in order for collateral estoppel to apply:

                      1) there is identity of parties across the proceedings,

                      2) there was a valid, final judgment in the first
                      proceeding,

                      3) the same issue was actually litigated and
                      necessarily determined in the first proceeding, and

                      4) the party against whom the doctrine is asserted
                      had a full and fair opportunity to litigate the issue in
                      the earlier proceeding.

               Phillips v. Weissert (In re Phillips ), 434 B.R. 475, 485 (6th Cir.
               BAP 2010) (citation omitted).
               ...

                       Under Michigan law, an issue is “actually litigated” if it is
               “put into issue by the pleadings, submitted to the trier of fact for
               determination, and is thereafter determined.” Phillips, 434 B.R. at
               486 (majority opinion) (quoting Latimer v. William Mueller & Son,
               Inc., 149 Mich.App. 620, 386 N.W.2d 618, 627 (1986)); Phillips,
               434 B.R. at 490 (Rhodes, J., concurring) (same).
               ...

                       An issue that is “actually litigated” is also considered to be
               “necessarily determined” if “it is necessary to the judgment.” See
               id. at 493; see also Rohe Scientific Corp. v. Nat'l Bank of Detroit,
               133 Mich.App. 462, 350 N.W.2d 280, 282 (1984) (citation
               omitted) (“Collateral estoppel applies to default judgments;
               however the default judgment is conclusive only as to those


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               matters essential to support the judgment.”); Detroit Automobile
               Inter–Insurance Exchange v. Higginbotham, 95 Mich.App. 213,
               290 N.W.2d 414, 418 (1980)(same). Whether an “actually
               litigated” issue is also “necessary to the judgment,” or “essential to
               the judgment,” in turn, depends on the elements of the claim or
               defense involved.

Pixley I, 456 B.R. at 776, 778-79.

        In determining whether a state court judgment collaterally estops a debtor from contesting

the necessary elements of a claim under 11 U.S.C. §§ 523(a)(2), 523(a)(4), and/or 523(a)(6),

               the language of the judgment itself is not controlling, but rather the
               Court must look to the “entire record in the original action” to
               determine the “exact nature of the debt on which such judgment
               was based.” “It is well settled that the court will look behind a . . .
               judgment, to ascertain the nature of the debt, and if it is ascertained
               to be one which a discharge (in bankruptcy) does not bar, it will be
               so adjudged.”

Chamberlain v. Messer (In re Messer), 500 B.R. 875, 880 (Bankr. E.D. Mich. 2013)(quoting

Tudryck v. Mutch, 30 N.W.2d 512, 514 (Mich. 1948))(Bankruptcy Act case).

               Under Michigan law, “[c]ollateral estoppel applies only where the
               basis of the prior judgment can be ascertained clearly, definitely,
               and unequivocally.” People v. Gates, 434 Mich. 146, 452 N.W.2d
               627, 631 (1990) (emphasis added, citations omitted). Without
               knowing the basis of the judgment, a court cannot make the
               determination that the judgment depended on a determination of
               the issue in question.

Id. at 882.

C. Sheldon’s arguments as to why collateral estoppel does not apply

        Sheldon argues that “collateral estoppel does not apply to any of Plaintiffs’ alleged

exceptions from discharge” because not all of the elements of §§ 523(a)(2), 523(a)(4), or




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523(a)(6) were “actually litigated” and “necessarily determined” in the State Court Lawsuit.42

Sheldon also argues that collateral estoppel does not apply because the Court cannot ascertain the

basis of the Judgment, “clearly, definitely, and unequivocally.”43

D. Principles applicable to all exceptions to discharge

       In order to prevail on the exceptions to discharge under § 523(a), including §§ 523(a)(2),

523(a)(4), and 523(a)(6), a plaintiff has the burden of proving each of the elements of non-

dischargeability by a preponderance of the evidence. Grogan v. Garner, 498 U.S. 279, 291

(1991); see also Rembert v. AT & T Universal Card Servs., Inc., 141 F.3d 277, 281 (6th Cir.

1998)(citing Grogan, 498 U.S. at 291). “[E]xceptions to discharge are to be strictly construed

against the creditor.” Rembert, 141 F.3d at 281 (citation omitted).

       The Court will discuss in detail each of Plaintiffs’ § 523(a) claims, beginning with

Plaintiffs’ claims under § 523(a)(2).

E. Lenchner and the Lenchner Entities’ § 523(a)(2)(A) claim

1. Elements under § 523(a)(2)(A)

       Section 523(a)(2)(A) of the Bankruptcy Code provides:

                 (a) A discharge under section 727 . . . of this title does not
                 discharge an individual debtor from any debt–
                 ...

                 (2) for money, property, services, or an extension, renewal, or
                 refinancing of credit, to the extent obtained by--

                             (A) false pretenses, a false representation, or actual
                             fraud, other than a statement respecting the debtor's


       42
            Def.’s Br. in Opp’n to Pls.’ Mot. for Partial Summ. J. (Docket # 37) at 6-7.
       43
            Id. at 11, 19.

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                      or an insider's financial condition[.]

11 U.S.C. § 523(a)(2)(A). “This section is phrased in the disjunctive, meaning that false

pretenses, false representation and actual fraud are three separate grounds for nondischargeability

[under § 523(a)(2)(A)].” Becton, Dickinson & Co. v. Sterling (In re Sterling), 479 B.R. 444, 449

(Bankr. E.D. Mich. 2012)(citations omitted); see also Tweedie v. Hermoyian (In re Hermoyian),

466 B.R. 348, 363 (Bankr. E.D. Mich. 2012). Lenchner and the Lenchner Entities seek summary

judgment on their § 523(a)(2)(A) claims based on all three grounds.

a. False representation

       The elements of a § 523(a)(2)(A) claim based on a false representation are:

               “(1) the debtor obtained money [property, services, or an
               extension, renewal, or refinancing of credit] through a material
               misrepresentation that, at the time, the debtor knew was false or
               made with gross recklessness as to its truth; (2) the debtor intended
               to deceive the creditor; (3) the creditor justifiably relied on the
               false representation; and (4) its reliance was the proximate cause of
               loss.”

Willens v. Bones (In re Bones), 395 B.R. 407, 430 (Bankr. E.D. Mich. 2008)(quoting Rembert v.

AT &T Universal Card Servs., Inc., 141 F.3d 277, 280-81 (6th Cir. 1998)). “A ‘failure to

disclose can amount to misrepresentation. A condition to invocation of the doctrine, however, is

that there be a duty to make disclosure.’” Id. at 429 (quoting Rowe v. Steinberg (In re Steinberg),

270 B.R. 831, 835 (Bankr. E.D. Mich. 2001)).

b. False pretenses

       The phrase “false pretenses” has been defined this way:

               “A ‘false pretense’ involves an implied misrepresentation or
               conduct intended to create or foster a false impression. A false
               pretense has been defined to include a ‘mute charade,’ where the


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               debtor’s conduct is designed to convey an impression without oral
               representation.” Schafer v. Rapp (In re Rapp), 375 B.R. 421, 433
               (Bankr.S.D.Ohio 2007) (quotation marks and citation omitted). It
               has also been described as “usually, but not always, the product of
               multiple events, acts or representations undertaken by a debtor
               which purposely create a contrived and misleading understanding
               of a transaction....” Evans v. Dunston (In re Dunston), 117 B.R.
               632, 641 (Bankr.D.Colo.1990), aff’d in part and rev’d in part on
               other grounds, 146 B.R. 269 (D.Colo.1992). The failure to disclose
               a material fact can form the basis of either a material
               misrepresentation or false pretense. See Semaan v. Allied
               Supermarkets, Inc., 951 F.2d 718, 728 (6th Cir.1991) (“That such
               deception takes the form of an intentional nondisclosure of a
               material fact or an implied representation makes no difference.”).
               A debtor's silence may also “create a false impression which would
               be actionable under § 523(a)(2)(A)....” Brann v. Oxford (In re
               Oxford), 440 B.R. 772, 777 (Bankr.W.D.Ky.2010) (citation
               omitted).

Hermoyian, 466 B.R. at 377. As is the case with a claim under § 523(a)(2)(A) based on a false

representation, a creditor making a false pretenses claim under § 523(a)(2)(A) must also establish

materiality; intent; justifiable reliance; and causation. See Hermoyian, 466 B.R. at 379 (relying

in part on Brann v. Oxford (In re Oxford), 440 B.R. 772, 777 (Bankr. W.D. Ky. 2010)).

c. Actual fraud

       “Actual fraud is broader than misrepresentation.” Mellon Bank, N.A. v. Vitanovich (In re

Vitanovich), 259 B.R. 873, 877 (B.A.P. 6th Cir. 2001).

               [A]ctual fraud encompasses “any deceit, artifice, trick, or design
               involving direct and active operation of the mind, used to
               circumvent and cheat another.” . . . “Fraud is a generic term, which
               embraces all the multifarious means which human ingenuity can
               devise and which are resorted to by one individual to gain an
               advantage over another by false suggestions or by the suppression
               of truth. No definite and invariable rule can be laid down as a
               general proposition defining fraud, and it includes all surprise,
               trick, cunning, dissembling, and any unfair way by which another
               is cheated.”


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               “Actual fraud has been defined as intentional fraud, consisting in
               deception intentionally practiced to induce another to part with
               property or to surrender some legal right, and which accomplishes
               the end designed. It requires intent to deceive or defraud.” . . .

               [A]ctual fraud as used 11 U.S.C. § 523(a)(2)(A) is not limited to
               misrepresentations and misleading omissions. When a debtor
               intentionally engages in a scheme to deprive or cheat another of
               property or a legal right, that debtor has engaged in actual fraud
               and is not entitled to the fresh start provided by the Bankruptcy
               Code.

Vitanovich, 259 B.R. at 877.

       Recently, in Husky Int’l Elects., Inc. v. Ritz, 136 S. Ct. 1581, 1586 (2016), the United

States Supreme Court stated and described the elements of “actual fraud” under § 523(a)(2)(A):

               “Actual fraud” has two parts: actual and fraud. The word “actual”
               has a simple meaning in the context of common-law fraud: It
               denotes any fraud that “involv[es] moral turpitude or intentional
               wrong.” “Actual” fraud stands in contrast to “implied” fraud or
               fraud “in law,” which describe acts of deception that “may exist
               without the imputation of bad faith or immorality.” Thus, anything
               that counts as “fraud” and is done with wrongful intent is “actual
               fraud.”

(citation omitted).

       In Husky, the individual Chapter 7 bankruptcy debtor, Ritz, had used his position as a

director and shareholder in a corporation, Chrysalis, to cause that corporation to make a series of

fraudulent transfers to other entities that Ritz controlled. Husky, a trade creditor of Chrysalis,

claimed that these transfers amounted to “actual fraud” by Ritz, and created a nondischargeable

debt owing by Ritz to Husky. In describing the agreed facts of the case, the Supreme Court

stated that “Ritz drained Chrysalis of assets it could have used to pay its debts to creditors like

Husky by transferring large sums of Chrysalis’ funds to other entities Ritz controlled.” 136 S.


                                                  26



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Ct. at 1585. The issue before the Supreme Court was whether this “intercompany transfer

scheme” could constitute “actual fraud” under § 523(a)(2)(A), even though it did not involve any

false representation by the bankruptcy debtor Ritz. Husky argued in the United States Court of

Appeals for the Fifth Circuit and in the Supreme Court that “Ritz’ asset-transfer scheme was

effectuated through a series of fraudulent conveyances — or transfers intended to obstruct the

collection of debt,” and that this was “a recognizable form of ‘actual fraud.’” Id. at 1586. The

Fifth Circuit rejected that argument, holding that “actual fraud” required a misrepresentation.

The Supreme Court reversed.

        The Supreme Court held that the “actual fraud” ground for nondischargeability under

§ 523(a)(2)(A), unlike the false representation ground, “encompasses forms of fraud . . . that can

be effected without a false representation;” without a creditor’s reliance on any statements,

actions, or omissions by the debtor; and without the fraud occurring at the inception of the

transaction(s) between the debtor and the creditor. Id. at 1586-90. The Court distinguished fraud

consisting of fraudulent conveyances from what it called “inducement-based fraud” — i.e., fraud

that induced some detrimental reliance by a creditor, such as fraud based on a debtor’s

misrepresentation. The Court stated:

               Equally important, the common law also indicates that fraudulent
               conveyances, although a “fraud,” do not require a
               misrepresentation from a debtor to a creditor. As a basic point,
               fraudulent conveyances are not an inducement-based fraud.
               Fraudulent conveyances typically involve “a transfer to a close
               relative, a secret transfer, a transfer of title without transfer of
               possession, or grossly inadequate consideration.” In such cases,
               the fraudulent conduct is not in dishonestly inducing a creditor
               to extend a debt. It is in the acts of concealment and hindrance. In
               the fraudulent-conveyance context, therefore, the opportunities for
               a false representation from the debtor to the creditor are limited.


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               The debtor may have the opportunity to put forward a false
               representation if the creditor inquires into the whereabouts of the
               debtor’s assets, but that could hardly be considered a defining
               feature of this kind of fraud.

Id. at 1587 (emphasis added) (citations omitted).

       Under Husky and the pre-Husky case law, it is clear that “actual fraud” is broad enough to

cover any form of fraud that is done with wrongful intent or that involves moral turpitude,

including inducement-based fraud such as fraud based on a misrepresentation. One of the

questions that arises after Husky, and that matters in this case, is whether the element of

“justifiable reliance” — that is, actual reliance by the creditor that is “justifiable” — is necessary

to establish “actual fraud” under § 523(a)(2)(A), when the fraud alleged is an inducement-based

form of fraud. It is clear from Husky that “actual fraud” based on one or more fraudulent

transfers does not require a showing of reliance, actual or justifiable. But in the present case, the

alleged “actual fraud” by the Debtor is that the Debtor by words and/or conduct intentionally

created a false impression intended to deceive the creditors, and that the creditors relied on such

false impressions to their damage. In such a case, is it necessary for the creditor to prove

“justifiable reliance” on the false impression? The Court concludes that the answer to this

question is yes, based on the following review of cases decided both before and after Husky, and

based on Husky itself.

       Numerous cases decided before Husky held that justifiable reliance is a required element

of “actual fraud” under § 523(a)(2)(A). Cases in this district, for example, held that “[t]o

establish actual fraud, Plaintiff must show (1) a course of conduct intended to deceive; (2)

justifiable reliance; and (3) proximate causation.” Sterling, 479 B.R. 444, 449 (Bankr. E.D.



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Mich. 2012)(emphasis added); see also General Motors, LLC v. Gunner (In re Gunner), No. 10-

7685, 2013 WL 6628629, at *4 (Bankr. E.D. Mich. Dec. 10, 2013) (emphasis added) (“Actual

fraud, which is broader than misrepresentation, requires a showing of (1) a course of conduct

intended to deceive; (2) justifiable reliance; and (3) proximate causation.”) (citing Vitanovich,

259 B.R. at 877 and Rakich v. Jagiello (In re Jagiello), No. 12–4096, 2013 WL 4068166, at *6

(Bankr. E.D. Mich. Aug. 8, 2013)); Hermoyian, 466 B.R. at 380 (“actual fraud” requires proof of

“intent, justifiable reliance, and proximate cause.”) (citing Fields v. Mans, 516 U.S. 59, 74-75

(1995)).

       In Field v. Mans, 516 U.S. 59, 66 (1995) the Supreme Court stated:

               While § 523(a)(2)(A) speaks of debt for value “obtained by ...
               false pretenses, a false representation, or actual fraud,” it does not
               define those terms or so much as mention the creditor's reliance as
               such, let alone the level of reliance required. No one, of course,
               doubts that some degree of reliance is required to satisfy the
               element of causation inherent in the phrase “obtained by[.]”

In Field v. Mans, without distinguishing between the three types of fraud under § 523(a)(2)(A),

the Court held that the level of reliance necessary under § 523(a)(2)(A) is “justifiable, but not

reasonable, reliance.”44 Id. at 74-75 (citations omitted); see also Rembert, 141 F.3d at 281


       44
          In Field v. Mans, 516 U.S. 59 (1995), the Supreme Court explained what justifiable reliance
means for purposes of § 523(a)(2)(A):

               [A] person is justified in relying on a representation of fact although he
               might have ascertained the falsity of the representation had he made an
               investigation. . . . Although the plaintiff's reliance on the
               misrepresentation must be justifiable . . . this does not mean that his
               conduct must conform to the standard of the reasonable man.
               Justification is a matter of the qualities and characteristics of the
               particular plaintiff, and the circumstances of the particular case, rather
               than of the application of a community standard of conduct to all cases.
               Justifiability is not without some limits, however. . . . [A] person is
               required to use his senses, and cannot recover if he blindly relies upon a

                                                   29



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(listing the elements of nondischargeability under § 523(a)(2)(A), including justifiable reliance).

        Despite this, some cases decided after Field v. Mans held that “actual fraud” does not

always require reliance by the creditor on anything the debtor said or did. But these cases were

mostly like Husky, in that they did not involve inducement-based forms of fraud, such as a

misrepresentation. See, e.g., McClellan v. Cantrell, 217 F.3d 890, 892-94 (7th Cir.2000) (case

involved bankruptcy debtor’s participation with her brother in a fraudulent conveyance scheme

designed to thwart collection of a debt owed by the brother; court distinguished Field v. Mans

and held that for “actual fraud,” “reliance is relevant only when a fraud takes the form of a

misrepresentation.”); Schafer v. Rapp (In re Rapp), 375 B.R. 421, 434 (Bankr. S.D. Ohio 2007)

(“The fact patterns of [Mellon Bank, N.A. v.] Vitanovich [(In re Vitanovich), 259 B.R. 873

(B.A.P. 6th Cir. 2001)(check kiting scheme)], and McClellan [v. Cantrell, 217 F.3d 890 (7th

Cir.2000)] illustrate that an objecting creditor need not in all cases demonstrate that the debtor

made an express fraudulent representation—and that the creditor justifiably relied thereon—to

obtain a judgment excepting a debt from discharge under § 523(a)(2)(A).”).

        This Court concludes that even after the Supreme Court’s 2016 decision in Husky,


                 misrepresentation the falsity of which would be patent to him if he had
                 utilized his opportunity to make a cursory examination or investigation.
                 ...

                 [I]t is only where, under the circumstances, the facts should be apparent
                 to one of his knowledge and intelligence from a cursory glance, or he has
                 discovered something which should serve as a warning that he is being
                 deceived, that he is required to make an investigation of his own.

Id. at 70-71 (internal quotation marks and citations omitted). By contrast, reasonable reliance “entail[s] a
duty to investigate[,]” and is therefore, a higher degree of reliance than justifiable reliance. Id. at 77; see
also Pixley I, 456 B.R. at 782 (citation omitted)(“The element of ‘justifiable’ reliance under
§ 523(a)(2)(A) is a less demanding requirement than ‘reasonable’ reliance, which is an element of fraud
under § 523(a)(2)(B).”).

                                                      30



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justifiable reliance by the creditor is a necessary element of “actual fraud” under § 523(a)(2)(A),

when the form of fraud is what Husky referred to as “inducement-based fraud.” In this respect,

Husky did not change prior law. This Court is bound by the Supreme Court’s decision in Field v.

Mans, and by the Sixth Circuit’s decision in the Rembert case, cited above, both of which hold

that all three types of fraud under § 523(a)(2)(A) — false representation; false pretenses; and

actual fraud — require justifiable reliance. Husky changed that rule in only one respect, in

holding that reliance is not required when the “actual fraud” is not an inducement-based fraud,

but rather some other form of fraud such as a fraudulent conveyance scheme. At least one post-

Husky case has taken this view of Husky, and this Court agrees with it. See Argento v. Cahill (In

re Cahill), No. 15-8298, 2017 WL 713565, at *7 (Bankr. E.D.N.Y. February 22, 2017) (noting

that “[w]hile Husky expanded the definition of actual fraud to include more than fraud based on a

misrepresentation, the Supreme Court clearly held that “actual fraud” also encompasses

fraudulent inducement based on a misrepresentation;” and holding that under Field v. Mans,

justifiable reliance is still required for “actual fraud” involving a misrepresentation.)

       This view of Husky is consistent with the Supreme Court’s discussion in Husky of Field

v. Mans. The Supreme Court in Husky considered Field v. Mans, 516 U.S. 59, 66 (1995) “in

which the Court noted that certain forms of bankruptcy fraud require a degree of direct reliance

by a creditor on an action taken by a debtor.” Husky, 136 S. Ct. at 1589. The Husky Court

interpreted this statement in Field v. Mans to apply only to “fraud perpetrated through a

misrepresentation.” See Husky, 136 S. Ct. at 1589-90. The Husky Court stated:

               The dissent . . . contend[s] that the phrase “obtained by ... actual
               fraud” requires not only that the relevant debts “resul[t] from” or
               be “traceable to” fraud but also that they “result from fraud at the


                                                  31



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                 inception of a credit transaction.” Post, at 1591 (emphasis added).
                 Nothing in the text of § 523(a)(2)(A) supports that additional
                 requirement. The dissent bases its conclusion on this Court’s
                 opinion in Field, in which the Court noted that certain forms of
                 bankruptcy fraud require a degree of direct reliance by a creditor on
                 an action taken by a debtor. But Field discussed such “reliance”
                 only in setting forth the requirements of the form of fraud alleged
                 in that case — namely, fraud perpetrated through a
                 misrepresentation to a creditor. See 516 U.S., at 61, 116 S.Ct. 437.
                 The Court was not establishing a “reliance” requirement for frauds
                 that are not premised on such a misrepresentation.

Id. (italics in original).

        This Court’s conclusion makes the most sense in light of both Field v. Mans and Husky.

It makes sense to apply the same justifiable reliance requirement to all forms of inducement-

based fraud, with respect to all three types of fraud listed in § 523(a)(2)(A) (false representation;

false pretenses; actual fraud). And Husky does not hold otherwise. Actual reliance by the

creditor is inherent in inducement-based fraud — i.e., the creditor is induced to rely in some way

to its detriment (e.g., lending money) on the false representation or false impression created by

the debtor’s words, silence, or conduct. To require that such actual reliance be justifiable for

purposes of “false representation” and “false pretenses” but not for purposes of “actual fraud”

under § 523(a)(2)(A), does not make sense.

2. Lenchner’s and the Lenchner Entities’ collateral estoppel argument regarding their
   § 523(a)(2) claim

        Lenchner and the Lenchner Entities argue that under collateral estoppel, the jury verdicts

for fraud and misrepresentation, and for silent fraud, preclude Sheldon from contesting that the

Judgment debt based on these verdicts is nondischargeable under 11 U.S.C. § 523(a)(2)(A).

        Sheldon argues that certain elements of § 523(a)(2)(A) were not “actually litigated” and



                                                  32



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“necessarily determined” in the State Court Lawsuit. Sheldon argues that “[Lenchner and the

Lenchner Entities] were not required to prove that [Sheldon] obtained any money through a

material misrepresentation . . . or that [Lenchner and the Lenchner Entities] ‘justifiably’ relied on

the false representation.”45

        According to Sheldon, collateral estoppel does not preclude litigation of the “obtained by

element” of § 523(a)(2)(A), based on the state court jury verdict, because “[a] plaintiff in a

Michigan state court action for fraud need not show that the defendant obtained money or

property through a material misrepresentation; however, such is required in a § 523(a)(2)(A)

claim.”46 And, according to Sheldon, “[t]he jury in the Charlevoix Circuit Court case did not

clearly, definitely and unequivocally determine that [he] personally obtained money, property, or

services on account of any misrepresentation and, if so to what extent.”47 For these reasons,

Sheldon argues that collateral estoppel does not bar litigation of the “obtained by” element of

§ 523(a)(2)(A).

        Also, according to Sheldon, collateral estoppel does not preclude litigation of the

“justifiable reliance element” of § 523(a)(2)(A). Sheldon argues that “‘justifiable reliance’ was

not “necessarily determined” in the state court jury verdicts because it was not an element of a

cause of action for fraud under Michigan common law,” at least at the time the case was

submitted to the jury (on May 26, 2006),48 while it is an element of fraud under § 523(a)(2)(A).

        45
             Def.’s Br. in Opp'n to Pls.’ Mot. for Partial Summ. J. (Docket # 37) at 8.
        46
             Id. at 12 (emphasis added).
        47
             Id. at 13.
        48
            For Sheldon’s argument regarding the justifiable reliance element of § 523(a)(2)(A), Sheldon
relies on a 2009 bench opinion given by the undersigned judge, in two consolidated adversary

                                                      33



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And according to Sheldon, even if justifiable reliance was an element of fraud when the case was

submitted to the jury, the justifiable reliance element of § 523(a)(2)(A) was not “actually

litigated.” This is so, Sheldon says, because the jury was not instructed that it had to determine

whether Lenchner and the Lenchner Entities justifiably (or reasonably) relied on any alleged

fraudulent misrepresentations and/or non-disclosures by the Korns.49 Sheldon argues that:

                  in order to determine what was actually litigated and necessarily
                  determined, the key is to look at the jury instructions - because
                  those instructions reflect what was “submitted to the trier of fact
                  for determination” and to discern what was “thereafter
                  determined.” . . . [O]n the issue of reliance, the instructions to the
                  jury were clear- the jury only needed to find that “[Lenchner
                  and the Lenchner Entities] did rely on the representation.” The



proceedings in which Lenchner and the Lenchner Entities filed a nondischargeability action against
Ashley Korn and Shauna Korn. (Adv. Pro. Nos. 08-5001, 08-5002). In that bench opinion, this Court
held that neither justifiable reliance nor reasonable reliance was an element of a fraud claim under
Michigan common law. But, as Sheldon recognized on page 9 of his brief in opposition to the Motion,
the undersigned judge later ruled otherwise in the Court’s 2011 decision in Pixley I, 456 B.R. at 782.
Relying on Cooper v. Auto Club Ins. Ass’n, 751 N.W.2d 443, 451-52 (Mich. 2008), this Court held that
“under Michigan law, fraud requires proof of actual reliance that is ‘reasonable’” and that “[t]he element
of ‘justifiable’ reliance under § 523(a)(2)(A) is a less demanding requirement than ‘reasonable’ reliance,
which is an element of fraud under § 523(a)(2)(B).” For that reason, this Court held that “establishing
that reliance was reasonable, as Michigan law requires for fraud, necessarily also establishes that such
reliance was “justifiable” as required under § 523(a)(2)(A).” Pixley I, 456 B.R. at 782.

         But according to Sheldon, “in May of 2006, when the Charlevoix Circuit Court issued its jury
instructions, the [c]ircuit [c]ourt did not have the benefit of the Cooper [c]ourt’s analysis and thus, did
not require any determination of reasonable or justifiable reliance.”

         Lenchner and the Lenchner Entities counter this argument by arguing that “the reasonableness of
Plaintiffs’ reliance is subsumed as an implicit element of the materiality of [Sheldon’s]
misrepresentations, which were actually litigated and necessarily determined in [the State Court
Lawsuit].” (Pls.’ Reply Br. in Supp. of Mot. (Docket # 50) at 3.) Alternatively, Lenchner and the
Lenchner Entities argue that “the reasonableness of Plaintiffs’ reliance is part of the reliance element
which was actually litigated and necessarily determined [in the State Court Lawsuit].” (Id. at 4.) With
regard to the “duty to disclose” element of silent fraud, Lenchner and the Lenchner Entities argue that
“[t]he materiality of the non-disclosure incorporates [Sheldon’s] duty to disclose.” (Id. at 3.)
        49
             Def.’s Br. in Opp'n to Pls.’ Mot. for Partial Summ. J. (Docket # 37) at 8-10.

                                                      34



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                  jury did not have to find “reasonable” or “justifiable” reliance.50

According to Sheldon, because the “actually litigated” and “necessarily determined” elements of

collateral estoppel are not satisfied with regard to the foregoing elements of Plaintiffs’

§ 523(a)(2)(A) claim, Lenchner’s and the Lenchner Entities’ motion for summary judgment on

their § 523(a)(2)(A) claims must be denied.

        Sheldon argues further that the motion for summary judgment must be denied because:

                  the use of the words “and/or” throughout the jury verdict forms and
                  the Judgment makes it is impossible for this Court to determine
                  upon what basis the jury reached its verdict with respect to
                  [Lenchner’s and the Lenchner Entities’] Fraud and
                  Misrepresentation claim, or to ascertain clearly, definitely and
                  unequivocally the basis of that portion of the Judgment relative to
                  [Lenchner’s and the Lenchner Entities’] Fraud and
                  Misrepresentation claim.51

Here Sheldon argues that because of the “and/or” form of the jury verdict forms, they cannot be

construed as establishing his personal liability for fraud and misrepresentation or silent fraud.52

        Sheldon argues that collateral estoppel also does not apply to the Lenchner and the

Lencher Entities’ § 523(a)(2)(A) claim based on the silent fraud jury verdict, for the additional

reason that “the jury instruction does not contain the element that ‘there be a duty to make

disclosure,’” which is a necessary element under § 523(a)(2)(A) for a failure to disclose to

constitute a misrepresentation.


        50
             Id. at 10 (emphasis in original).
        51
             Id. at 11-12.
        52
            Lenchner and the Lenchner Entities point out that Sheldon's argument here is directly contrary
to the position he took in the State Court Lawsuit on appeal. Lenchner and the Lenchner Entities point
out that on appeal to the Michigan Court of Appeals, Sheldon “argued that his co-defendants may not be
found liable for the fraud that he alone perpetrated.”

                                                    35



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3. The Court concludes that the “actually litigated” requirement of collateral estoppel is
   not satisfied with respect to the justifiable reliance element of 11 U.S.C. § 523(a)(2)(A).

       The Court agrees with Sheldon that the “actually litigated” requirement of collateral

estoppel is not satisfied regarding the justifiable reliance element of 11 U.S.C. § 523(a)(2)(A).

Lenchner and the Lenchner Entities seek summary judgment on their § 523(a)(2)(A) claim based

on false pretenses, false representation, and actual fraud. But the only types of fraud claim

submitted to the jury in the State Court Lawsuit were inducement-based fraud claims, involving

fraudulent misrepresentation and silent fraud. Under the § 523(a)(2)(A) framework, these may

be claims of false representation, false pretenses, and actual fraud. But as the Court discussed in

Part III.E.1.c of this opinion, all such inducement-based fraud claims require the creditor to show

justifiable reliance. And neither the element of justifiable reliance, nor the more demanding

element of reasonable reliance, was submitted to the jury for decision.

       Under Michigan law, the elements of fraudulent misrepresentation are:

               (1) That defendant made a material representation; (2) that it was
               false; (3) that when he made it he knew that it was false, or made it
               recklessly, without any knowledge of its truth and as a positive
               assertion; (4) that he made it with the intention that it should be
               acted upon by plaintiff; (5) that plaintiff acted in reliance upon it;
               and (6) that he thereby suffered injury.

Titan Ins. Co. v. Hyten, 817 N.W.2d 562, 567-68 (Mich. 2012)(citation omitted). The elements

of a silent fraud claim are similar, except that they also include the elements that there was a duty

to disclose, and a failure to disclose.53 To “satisfy the reliance factor[,]” a plaintiff must “‘show


       53
           Under Michigan law, as explained in Abbo v. Wireless Toyz Franchise, L.L.C., No. 304185,
2014 WL 1978185 (Mich. Ct. App. May 13, 2014), the failure to make a disclosure, when one has a duty
to disclose, is the equivalent of a material misrepresentation:

       The Court in Abbo explained:

                                                  36



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that any reliance on [the defendant’s] representations was reasonable.’” Cooper v. Auto Club Ins.

Ass’n, 751 N.W.2d 443, 451 (Mich. 2008)(quoting Foreman v. Foreman, 701 N.W.2d 167, 175

(Mich. Ct. App. 2005)).



                [F]raud may also result from inaction-silence-when there is a duty to
                speak. In a claim for silent fraud, “the suppression of a material fact,
                which a party in good faith is duty-bound to disclose, is equivalent to a
                false representation.” M & D, Inc. v. McConkey, 231 Mich.App. 22,
                28–29, 585 N.W.2d 33 (1998). Most recently, our Supreme Court
                described silent fraud as a doctrine that has “long been recognized in
                Michigan,” holding that “when there is a legal or equitable duty of
                disclosure,” fraud may arise from “suppression of the truth” with “intent
                to defraud.” Titan Ins. Co. v. Hyten, 491 Mich. 547, 557, 817 N.W.2d
                562 (2012) (quotation marks and citation omitted).

                         As discussed in greater detail, infra, defendants had a statutory
                duty to disclose those material facts “necessary” to make the [Uniform
                Franchise Offering Circular] statements “not misleading” under the
                circumstances in which they were presented. [The plaintiff’s] silent
                fraud claim arose from a breach of this statutory obligation, as well as
                from defendant's common-law responsibility to truthfully respond to
                direct inquiries regarding hits and chargebacks, and to avoid creating
                false impressions when allaying [the plaintiff’s] financial concerns. “[A]
                legal duty to make a disclosure will arise most commonly in a situation
                where inquiries are made by the plaintiff, to which the defendant makes
                incomplete replies that are truthful in themselves but omit material
                information.” Hord v. Environmental Research Inst., 463 Mich. 399,
                412, 617 N.W.2d 543 (2000) (citations omitted).

                        Thus, to prove silent fraud [the plaintiff] was required to
                establish that defendants (1) suppressed or concealed the truth by
                employing false and misleading words (2) with the intent to defraud or
                deceive, (3) while having a duty to disclose factually accurate
                information.

Id. at *5; see also Hord v. Envtl. Research Inst. of Michigan, 617 N.W. 2d 543, 550 (Mich.
2000)(citation omitted) (“Turning to the question of silent fraud, we agree with the analysis of the
conflict resolution panel in [M & D, Inc. v.] McConkey[, 585 N.W.2d 33 (Mich. Ct. App. 1998)] that
mere nondisclosure is insufficient. There must be circumstances that establish a legal duty to make a
disclosure.”); Barclae v. Zarb, 834 N.W.2d 100, 115-16 (Mich. Ct. App. 2013)(“Silent fraud is
essentially the same [as common-law fraud or fraudulent misrepresentation] except that it is based on a
defendant suppressing a material fact that he or she was legally obligated to disclose, rather than making
an affirmative misrepresentation. Such a duty may arise by law or by equity[.]”).

                                                    37



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       As the Court explained in Pixley I, before 2008, the law in Michigan was unclear

regarding whether reliance had to be reasonable, as an element of a fraud claim.54 But it is


        54
             This Court explained in Pixley I, 456 B.R. at 779-81, that:

                  [u]nder Michigan law, the necessity of proving justifiable or reasonable
                  reliance to establish fraud has not been so clear. At least before 2008,
                  there was some reason to question whether Michigan law includes, as an
                  element of proving fraud, that the claimant’s actual reliance on a false
                  representation must be reasonable or justifiable. Many Michigan cases
                  stated the elements of fraud in a way that included actual reliance, but
                  did not expressly require that the actual reliance be reasonable or
                  justifiable. In an often-cited case from 1976, for example, the Michigan
                  Supreme Court listed the elements of fraud this way:

                          The elements constituting actionable fraud or
                          misrepresentation are well-settled in this jurisdiction. In
                          Candler v. Heigho, 208 Mich. 115, 121, 175 N.W. 141,
                          143 (1919), we set forth those elements:

                          “The general rule is that to constitute actionable fraud it
                          must appear: (1) That defendant made a material
                          representation; (2) that it was false; (3) that when he
                          made it he knew that it was false, or made it recklessly,
                          without any knowledge of its truth, and as a positive
                          assertion; (4) that he made it with the intention that it
                          should be acted upon by plaintiff; (5) that plaintiff acted
                          in reliance upon it; and (6) that he thereby suffered
                          injury. Each of these facts must be proved with a
                          reasonable degree of certainty, and all of them must be
                          found to exist; the absence of any one of them is fatal to
                          a recovery.”

                  Hi–Way Motor Co. v. Int’l Harvester Co., 398 Mich. 330, 247 N.W.2d
                  813, 815–16 (1976). As late as January 2008, one federal district court
                  decision described the uncertainty on this point of Michigan law this
                  way:

                          Whether the reliance must be reasonable is an open
                          question under Michigan law. Compare Novak v.
                          Nationwide Mut. Ins. Co., 235 Mich.App. 675, 690, 599
                          N.W.2d 546, 554 (1999) (reliance must be reasonable);
                          Nieves v. Bell Industries, Inc., 204 Mich.App. 459, 464,
                          517 N.W.2d 235, 238 (1994); State–William
                          Partnership v. Gale, 169 Mich.App. 170, 179, 425

                                                      38



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now clear under Michigan law that all types of fraud claims require the plaintiff to establish the


                        N.W.2d 756, 761 (1988) with Phinney v. Perlmutter,
                        222 Mich.App. 513, 534, 564 N.W.2d 532, 547 (1997)
                        (reliance need not be reasonable). The Supreme Court
                        of Michigan has not conclusively decided this point.
                        When discussing the elements of fraud, the Supreme
                        Court of Michigan required simply “that plaintiff acted
                        in reliance” upon the fraudulent statement, without any
                        discussion of reasonableness. See Kassab v. Michigan
                        Basic Property Ins. Ass'n, 441 Mich. 433, 442, 491
                        N.W.2d 545, 548 (1992), overruled on other grounds,
                        Haynes v. Neshewat, 477 Mich. 29, 39, 729 N.W.2d
                        488, 494–95 (2007); Hi–Way Motor Co. v. International
                        Harvester Co., 398 Mich. 330, 336, 247 N.W.2d 813,
                        816 (1976); Candler v. Heigho, 208 Mich. 115, 121, 175
                        N.W. 141, 143 (1919). In another case, the Supreme
                        Court wrote:

                                To defeat an otherwise righteous cause
                                for fraud, by means of allegation that
                                the plaintiff had timely knowledge of
                                the fact he says was falsely represented,
                                proof of negligence on his part will not
                                suffice. The representation and its
                                materiality proven, it must be shown
                                that the plaintiff's knowledge was so
                                informatively complete as to render the
                                allegation of reliance quite as false as
                                the representation itself.

                        Sautter v. Ney, 365 Mich. 360, 363–64, 112 N.W.2d
                        509, 511 (1961). However, there can not be reliance if
                        the plaintiff had knowledge of the actual state of things.
                        Montgomery Ward & Co. v. Williams, 330 Mich. 275,
                        280, 47 N.W.2d 607, 609–10 (1951). Although it is an
                        arguably unsettled point of Michigan law, the
                        federal courts have assumed that the Michigan
                        Supreme Court will require reasonableness of
                        reliance. Aron Alan, LLC v. Tanfran, Inc., 2007 WL
                        1837843, *3 (6th Cir. Jun. 25, 2007); Diamond
                        Computer Systems, Inc. v. SBC Communications, Inc.,
                        424 F.Supp.2d 970, 984 (E.D.Mich.2006).

                Inland Waters Pollution Control, Inc. v. Jigawon, Inc., No. 05–74785,
                2008 WL 205209, at *14–15 (E.D.Mich. Jan. 22, 2008) (emphasis
                added).

                                                   39



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reasonableness of reliance. See Pixley I, 456 B.R. at 782; Mercantile Bank of Michigan v.

CLMIA, LLC, No. 09-001639-CZ, 2015 WL 630259, at *5 (Mich. Ct. App. February 12, 2015);

Aron Alan, LLC v. Tanfran, Inc., 240 F. App’x 678, 682 (6th Cir. 2007); Abbo v. Wireless Toyz

Franchise, L.L.C., No. 304185, 2014 WL 1978185, at *11 (Mich. Ct. App. May 13, 2014); Niell

v. Schmoke, No. 302389, 2012 WL 6604727, at *7 (Mich. Ct. App. Dec. 18, 2012); Zaremba

Equip., Inc. v. Harco Nat’l Ins. Co., 761 N.W.2d 151, 165 (Mich. Ct. App. 2008).

       As this Court explained in Pixley I, proving “reasonable reliance” also proves the less

demanding element of “justifiable reliance.” Pixley I, 456 B.R. at 782.

       Therefore, establishing the elements of a fraudulent misrepresentation claim and a silent

fraud claim under Michigan law also establishes all the elements of nondischargeability under

§ 523(a)(2)(A).

       The reasonableness of reliance was put at issue in the pleadings in the State Court

Lawsuit,55 but this element also must have been submitted to the jury and determined by the jury,

in order to satisfy the “actually litigated” requirement of collateral estoppel. See Pixley I, 456


        55
           In their Counterclaim in the State Court Lawsuit, Lencher and the Lenchner Entities alleged,
in relevant part, regarding their fraud claim:

                  52. The Lenchner [E]ntities were not aware that these representations
                  and omission were false and misleading, and they actually and
                  reasonably relied upon the misrepresentations and fraudulent omissions
                  made to them by Sheldon Korn.

And Lencher and the Lenchner Entities alleged, in relevant part, regarding their silent fraud claim:

                  60. As a direct and proximate result of such reasonable reliance, the
                  Lenchner [E]ntities have been and will continue to be damaged because
                  of the Korns’ deceptive and wrongful conduct.

(See Ex. B to Mot. (Docket # 27) (“Counterclaim” in State Court Lawsuit) at pdf. pp. 83-84 (emphasis
added)).

                                                   40



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B.R. at 778. It was not. The state court’s instructions to the jury show what elements were

submitted to the jury for determination. There is no jury instruction stating that in order to find in

favor of Lenchner and the Lenchner Entities on any of their fraud claims, the jury must determine

that Lenchner and the Lencher Entities reasonably relied on any misrepresentation or failure to

disclose by Sheldon and/or the other Korns. Reasonableness of reliance is not listed as an element

of any fraud claim in the jury instructions. And reasonableness of reliance is not mentioned in

either the jury instruction regarding the meaning of “reliance” or in the instruction regarding the

meaning of a “material” fact.56

       With regard to the fraud claims, the jury was instructed to determine only whether there

was actual reliance — that is, if Lencher and the Lenchner Entities “did rely” (in the case of fraud

and misrepresentation)57 and if Lenchner and the Lenchner Entities “relied” (in the case of silent

fraud).58 The jury instruction regarding “reliance” likewise described only actual reliance, and

contained no instruction that the actual reliance had to be reasonable (or justifiable).59 Because

the issue of whether Lenchner and the Lenchner Entities reasonably relied on any false

representation was not submitted to the jury in the State Court Lawsuit, that issue was not



        56
           Therefore, even assuming, without deciding, that reasonable reliance is subsumed in the
reliance element or the materiality element of a fraud claim under Michigan law, as Lenchner and the
Lenchner Entities argue, see supra note 48, this certainly would not be obvious to a jury, and the jury
was not instructed that this was the case. The issue of reasonable reliance simply was not submitted to
the jury.
        57
            Trial Tr. in State Court Lawsuit (dated May 26, 2006) at 78 lns. 8-9. A copy of the state court
trial transcript dated May 26, 2006, is attached to the Motion (Docket # 27) at Exhibit G and to Sheldon’s
objection to the Motion (Docket # 37) at Exhibit 1.
        58
             Id. at 80 lns. 15-16.
        59
             Id. at 80 lns. 9-14; see also supra note 12 and accompanying text.

                                                      41



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“actually litigated” in the State Court Lawsuit.60 It follows that the “actually litigated”

requirement of collateral estoppel is not satisfied with regard to the “justifiable reliance” element

of the Plaintiffs’ § 523(a)(2)(A) claims. This prevents the Court from granting summary

judgment for Plaintiffs’ on their § 523(a)(2)(A) claims (Counts IV, V, and VI). It is not necessary

to discuss Sheldon’s other arguments opposing summary judgment on these claims.

F. Lenchner and the Lenchner Entities’ § 523(a)(4) claim

1. Elements under § 523(a)(4)

        Section 523(a)(4) states that “[a] discharge under section 727 . . . of this title does not

discharge an individual debtor from any debt . . . for fraud or defalcation while acting in a

fiduciary capacity, embezzlement, or larceny[.]” 11 U.S.C. § 523(a)(4). “This section essentially

contains two different exceptions—one for fraud or defalcation while acting in a fiduciary

capacity and another for embezzlement or larceny while acting in any capacity.” Kriescher v.

Gibson (In re Gibson), 521 B.R. 645, 655 (Bankr. W.D. Wis. 2014)(citing Bullock v.

BankChampaign, N.A., 133 S. Ct. 1754, 1760 (2013)). The term “fiduciary capacity” in

§ 523(a)(4) has a special, narrow meaning:

                A debt is non-dischargeable as the result of defalcation when a
                preponderance of the evidence establishes: (1) a pre-existing
                fiduciary relationship, (2) a breach of that relationship, and (3)
                resulting loss. Bd. of Trustees v. Bucci (In re Bucci), 493 F.3d 635,
                642 (6th Cir.2007). In Davis [v. Aetna Acceptance Co., 293 U.S.
                328, 331(1934)], the Supreme Court instructed that the term


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             In its opinion, the Michigan Court of Appeals stated that “the jury could reasonably have
 concluded that Lenchner reasonably relied on the false impression created by the Korns.” (Jan. 29, 2008
 Ct. of Appeals Op. (attached to the Motion (Docket # 27) at Exhibit E) at 6.) But the Court of Appeals
 did not state that the jury had actually made a determination that Lenchner reasonably relied on the false
 impression created by the Korns. The jury clearly did not decide this, given that the reasonableness-of-
 reliance element is clearly missing from the jury instructions.

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               “fiduciary capacity” is narrower here than it is in some other
               contexts: section 523(a)(4) covers only “express” or “technical
               trusts” and not trusts arising out of “the very act of
               wrongdoing.” 293 U.S. at 333, 55 S.Ct. 151. These “constructive
               trusts,” which arise ex maleficio (at the time the wrong is done),
               do not satisfy the “fiduciary capacity” requirement because the
               debtor was not “a trustee before the wrong.” Id. Establishing
               an “express” trust is straightforward. The creditor must
               demonstrate: “(1) an intent to create a trust; (2) a trustee; (3) a
               trust res; and (4) a definite beneficiary.”

Patel v. Shamrock Floorcovering Servs., Inc. (In re Patel), 565 F.3d 963, 968 (6th Cir. 2009)

(emphasis added) (citation omitted); see also Commonwealth Land Title Co. v. Blaszak (In re

Blaszak), 397 F.3d 386, 391 (6th Cir. 2005) (citation omitted) (“[T]he defalcation provision of

§ 523(a)(4) is limited to only those situations involving an express or technical trust relationship

arising from placement of a specific res in the hands of the debtor.”).

       “In section 523(a)(4), the term ‘while acting in a fiduciary capacity’ does not qualify the

words ‘embezzlement’ or ‘larceny.’ Therefore, any debt resulting from embezzlement or larceny

falls within the exception of [§ 523(a)(4)].” 4 Collier on Bankruptcy ¶ 523.10[2], at 523-76 (Alan

N. Resnick & Henry J. Sommer eds., 16th ed. 2016) (citations omitted); see also Powers v.

Powers (In re Powers), 385 B.R. 173, 178 (Bankr. S.D. Ohio 2008).

               Federal law defines “embezzlement” under section 523(a)(4) as “the
               fraudulent appropriation of property by a person to whom such
               property has been entrusted or into whose hands it has lawfully
               come.” A creditor proves embezzlement by showing that he
               entrusted his property to the debtor, the debtor appropriated the
               property for a use other than that for which it was entrusted, and the
               circumstances indicate fraud.

Brady v. McAllister (In re Brady), 101 F.3d 1165, 1172-73 (6th Cir. 1996). “[E]mbezzlement, for

purposes of 11 U.S.C. § 523 . . . requires fraud in fact, involving moral turpitude or intentional



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wrong, rather than implied or constructive fraud.” Gibson, 521 B.R. at 655 (internal quotation

marks omitted)(quoting Bank Calumet v. Whiters (In re Whiters), 337 B.R. 326, 332 (Bankr. N.D.

Ind. 2006) (citing Driggs v. Black (In re Black), 787 F.2d 503, 507 (10th Cir.1986))).

2.    Lenchner’s and the Lenchner Entities’ collateral estoppel argument regarding their
      § 523(a)(4) claim

         In their summary judgment brief, Lenchner and the Lenchner Entities argue that the jury

verdict for breach of fiduciary duty and the jury verdicts for fraud in the State Court Lawsuit

collaterally estop Sheldon from arguing that the Judgment debt based on these verdicts is

nondischargeable under § 523(a)(4), as debts for “fraud . . . while acting in a fiduciary capacity”

and as debts for embezzlement.61 But in oral argument, Lenchner and the Lenchner Entities

narrowed their summary judgment argument regarding § 523(a)(4), to argue only that (1) the

$250,000 jury verdict and judgment component for breach of fiduciary duty against Sheldon and

Gale Korn is nondischargeable under § 523(a)(4); and (2) this is based only on the “fraud . . .

while acting in a fiduciary capacity” provision in § 523(a)(4).62 So the Court will only discuss

those § 523(a)(4) issues.63

         Lenchner and the Lenchner Entities argue that the issue of whether they had a fiduciary

relationship with Sheldon was submitted to the jury, and the jury determined the parties had a

fiduciary relationship, because the jury returned a verdict against Sheldon for breach of fiduciary


         61
              Pls.’ Br. in Supp. of Mot. (Docket # 27) at 18.
         62
              Tr. of Summary Judgment Hearing (Docket # 75) at 42-44.
         63
             The Court notes, as Sheldon correctly argues, that Lenchner’s and the Lenchner Entities’
 complaint in this adversary proceeding does not allege “embezzlement” under § 523(a)(4). Rather, the
 § 523(a)(4) claim in the adversary complaint (Count VII) alleges only “fraud or defalcation while acting
 in a fiduciary capacity.” See Compl. (Docket # 1) at ¶ 57.

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duty. And according to Lenchner and the Lenchner Entities, the verdict for breach of fiduciary

duty together with the fraud verdicts establish “fraud . . . while acting in a fiduciary capacity”

under § 523(a)(4).64

         Sheldon argues that the jury verdicts for breach of fiduciary duty and fraud in the State

Court Lawsuit do not preclude him from contesting that the Judgment debt is nondischargeable

under § 523(a)(4) as a debt “for fraud . . . while acting in a fiduciary duty.” Sheldon argues that

“[Lenchner and the Lenchner Entities] do not allege that any express or technical trust had been

established and that [Sheldon] was a fiduciary of any such trust” and “the jury instructions did not

require the jury to find that an express or technical trust had been established.”65 Sheldon argues

that “[§] 523(a)(4) applie(s) to trustees who misappropriate funds held in trust, and “not to those

who fail to meet an obligation under a common law fiduciary relationship.”66

3.    The Court concludes that Sheldon is not collaterally estopped from contesting the
      nondischargeability of the debt under § 523(a)(4).

         The Court concludes that the jury verdicts for breach of fiduciary duty and fraud in the

State Court Lawsuit do not collaterally estop Sheldon from contesting that the $250,000 breach-

of-fiduciary-duty debt in this adversary proceeding is nondischargeable under § 523(a)(4). This is

so for at least two reasons. First, it is impossible to tell if any of this $250,000 verdict was for

“fraud.” The jury instructions regarding the breach of fiduciary duty claim did not require any

finding of fraud, which is necessary for “fraud . . . while acting in a fiduciary capacity” under



         64
              Id.
         65
              Def.’s Br. in Opp'n to Pls.’ Mot. for Partial Summ. J. (Docket # 37) at 16.
         66
              Id. at 15 (citation omitted).

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§ 523(a)(4), so this issue was not “actually litigated.”

        Second, the jury instructions did not require the jury to consider or determine whether

Sheldon was acting in a “fiduciary capacity,” as that term is narrowly defined under § 523(a)(4).

The jury was not instructed to consider or determine whether Sheldon was a trustee under a pre-

existing “express or technical trust,” as required by the Sixth Circuit case law quoted above. So

this element of § 523(a)(4) was not “actually litigated” either. Rather, the jury instructions, which

are quoted in full in Part I.A.2.a.iv of this opinion, instructed the jury that it could find a “breach”

of “fiduciary duty,” among other ways, merely by finding that Sheldon or Gale Korn either “failed

to fulfill their obligations or duties to act with the utmost good faith and integrity in their dealings

with one another in partnership affairs,” or “failed to fulfill their obligations or duty to disclose all

known information that is significant and material to the affairs or property of the partnership.”67

        For these reasons, the Court cannot grant summary judgment for Plaintiffs on their

§ 523(a)(4) claim (Count VII).

G. Lenchner’s and the Lenchner Entities’ § 523(a)(6) claim

1. Elements under § 523(a)(6)

        Section 523(a)(6) states that “[a] discharge under section 727 . . . of this title does not

discharge an individual debtor from any debt . . . for willful and malicious injury by the debtor to

another entity or to the property of another entity[.]” 11 U.S.C. § 523(a)(6).

                          In order to establish nondischargeability under § 523(a)(6), a
                  creditor must show an injury to person or property by the debtor that
                  is both “willful” and “malicious.” “[T]o find a ‘willful’ injury under
                  § 523(a)(6), [the court] must determine either that (I) the actor
                  desired to cause the consequences of the act or (ii) the actor


         67
              Trial Tr. in State Court Lawsuit (Docket # 27, Ex. G; Docket # 37, Ex. 1) at 88-89.

                                                      46



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                    believed that the given consequences of his act were substantially
                    certain to result from the act.” Monsanto Co. v. Trantham (In re
                    Trantham ), 304 B.R. 298, 307 (6th Cir. BAP 2004) (citing
                    Markowitz v. Campbell (In re Markowitz ), 190 F.3d 455, 464 (6th
                    Cir.1999)). “Under § 523(a)(6), “‘[m]alicious’ means in conscious
                    disregard of one’s duties or without just cause or excuse; it does not
                    require ill-will or specific intent.’” Id. at 308 (quoting Wheeler v.
                    Laudani, 783 F.2d 610, 615 (6th Cir.1986)).

Pixley I, 456 B.R. at 785.

2.    Lenchners’ and the Lenchner Entities’ collateral estoppel argument regarding their
      § 523(a)(6) claim

         Lenchner and the Lenchner Entities argue that “the totality of the Judgment, now in excess

of $2 million, is nondischargeable pursuant to 11 U.S.C. § 523(a)(6)” because “[Sheldon]

certainly desired to cause the consequences of his acts” and made repeated false representations

“maliciously and in conscious disregard of [his] duties to [Lenchner and the Lenchner Entities].”68

         Sheldon argues that the jury did not determine that he desired to cause injury to Lenchner

and the Lenchner Entities or that he “believed than [any] injury was substantially certain to

result.”69 Therefore, according to Sheldon “there was no state court determination of the

[§523(a)(6)] element of ‘willfulness.’”70 In addition, Sheldon relies on this Court’s 2009 bench

opinion in the Lenchner v. [Ashley and Shauna] Korn adversary proceedings, in which the Court

determined that “the plaintiffs [had] not met their burden under Rule 56 of demonstrating that . . .

all of the elements required to establish non-dischargeability under Section 523(a)(6) were

actually litigated and necessarily determined in the State Court [Lawsuit] and reflected in the final


         68
              Pls.’ Br. in Supp. of Mot. (Docket # 27) at 19.
         69
              Br. in Opp’n to Pls.’ Mot. for Partial Summ. J. (Docket # 37) at 18.
         70
              Id.

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[J]udgment there.”71 Sheldon argues that Lenchner and the Lencher Entities have stated no reason

why the Court’s ruling on the Motion in this case should be different from the Court’s summary

judgment ruling in the Lenchner v. [Ashley and Shauna] Korn adversary proceedings.72 Sheldon

also argues that “the ‘and/or’ jury verdict forms, do not ‘clearly, definitely and unequivocally’

reflect a finding that [Sheldon] personally, committed any wrongs.”73

3.    The Court concludes that Sheldon is not collaterally estopped from contesting that any
      of the Judgment debt is nondischargeable under § 523(a)(6).

         The Court concludes that collateral estoppel does not preclude Sheldon from contesting

that any of the Judgment debt is nondischargeable under § 523(a)(6). In explaining why this is so,

the Court will address three main issues.

         First, the Court must reject Sheldon’s argument based on the Court’s 2009 bench opinion

in the Lenchner v. [Ashley and Shauna] Korn adversary proceedings. In its bench opinion in the

Lenchner v. [Ashley and Shauna] Korn adversary proceedings, the Court denied Lenchner’s and

the Lenchner Entities’ motion for summary judgment based on § 523(a)(6). That ruling was not a

final order or judgment, and Sheldon was not a party in those earlier adversary proceedings. The

Court denied summary judgment regarding § 523(a)(6), for two stated reasons. The first reason

was because the § 523(a)(6) theory had not been pled in the complaint.74 The second reason was

that “the plaintiffs [had] not met their burden under Rule 56 of demonstrating that . . . all of the

         71
           Id. at 18-19 (citing Tr. of Op. in Lenchner v. Ashley Korn Adv. Pro. No. 08-5001 (Docket # 29
 in Adv. Pro. No. 08-5001)(Ex. 4 of Docket # 37)) at 22 lns. 4-9 (emphasis in original).
         72
              Id.
         73
              Br. in Opp’n to Pls.’ Mot. for Partial Summ. J. (Docket # 37) at 19 (emphasis in original).
         74
           Tr. of Op. in Lenchner v. Ashley Korn Adv. Pro. No. 08-5001(Docket # 29 in Adv. Pro. No.
 08-5001)(Ex. 4 of Docket # 37) at 21 lns. 22-25.

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elements required to establish non-dischargeability under Section 523(a)(6) were actually litigated

and necessarily determined in the State Court [Lawsuit] and reflected in the final [J]udgment

there.”75 In making this ruling, the Court indicated that it was possible that Lenchner and the

Lenchner Entities could eventually prevail on their § 523(a)(6) theory. The Court stated:

                 That’s not to say that further briefing and discussion might not
                 elaborate and provide further basis for figuring out how that
                 collateral estoppel might apply with respect to [§] 523(a)(6), but on
                 the present briefing and arguments and record I simply don’t find
                 the plaintiffs have demonstrated any basis for granting summary
                 judgment in their favor on that theory.76

       When the Court issued its 2009 bench opinion, the record from the State Court Lawsuit

that was before this Court consisted only of the Third Amended Complaint; the Counterclaims;

and the jury verdict forms in the State Court Lawsuit; the Judgment; and the Michigan Court of

Appeals decision. Importantly, the record did not include the state court jury instructions.

       In the present adversary proceeding, Lenchner and the Lenchner Entities have actually pled

nondischargeability under § 523(a)(6), and the record does include the jury instructions, as well as

further briefing and arguments. Therefore, the Court must now decide the § 523(a)(6) issues in

light of the more developed pleadings, record, briefing, and oral arguments in this case.

       A second issue the Court considers is whether the same debt can be nondischargeable

under both § 523(a)(2)(A) and § 523(a)(6). At least until the Supreme Court’s recent decision in

the Husky case, discussed in Part III.E.1.c of this opinion, there has been some disagreement in the

case law on this issue.



        75
             Id. at 22 lns. 2-9.
        76
             Id. at 22 lns. 10-16.

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        On the one hand, some cases hold that the same debt can be nondischargeable under both

sections. See, e.g., Purser v. Scarbrough (In re Scarbrough), 516 B.R. 897, 914 (Bankr. W.D.

Tex. 2014) (citations omitted)(“Although § 523(a)(2)(A) is the usual vehicle for seeking

nondischargeability of a debt based on fraud, it is possible to assert a claim for willful and

malicious fraud under § 523(a)(6).”); Schubert Osterrieder & Nickelson PLLC v. Bain (In re

Bain), 436 B.R. 918, 924 (Bankr. S.D. Texas 2010) (holding that “although Plaintiffs’ fraud claim

[did] not state a claim under § 523(a)(2)(A), it [did] state a claim under § 523(a)(6);” that

“[a]llowing Plaintiffs’ state-law fraud claim to be asserted under § 523(a)(6) would not render

§ 523(a)(2)(A) superfluous”; and that “[c]onsidering the claim under § 523(a)(6) instead would

not circumvent any special requirements of § 523(a)(2)(A)”); 4 Collier on Bankruptcy ¶

523.12[1], at 523-91 (Alan N. Resnick & Henry J. Sommer eds., 16th ed. 2016) (“Conduct which

may give rise to a nondischargeable debt under section 523(a)(6) may also be nondischargeable

under other subsections of section 523(a). For example, debts procured by fraud may be

nondischargeable under section 523(a)(6) as arising from conduct causing willful and malicious

injury to an entity or property of an entity.”).

        On the other hand, some cases hold, in effect, that the two sections are mutually exclusive.

See, e.g., Berkson v. Gulevsky (In re Gulevsky) 362 F.3d 961, 963-64 (7th Cir. 2004) (citations

omitted) (stating that “[f]raud . . . is an intentional tort and § 523(a)(6) makes many intentional

torts nondischargeable . . . “[b]ut § 523(a)(6) cannot make all debts procured by fraud

nondischargeable, because that would make superfluous § 523(a)(2), § 523(a)(4), and

§ 523(a)(11), all of which make different sorts of debts procured by fraud nondischargeable”);

Wachovia Sec., LLC v. Jahelka (In re Jahelka), 442 B.R. 663, 671-72 & n.4 (Bankr. N.D. Ill.


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2010) (citations omitted) (holding that although “[t]he general language of section 523(a)(6)

would arguably encompass debts for fraud . . . [s]ections 523(a)(2) and (a)(6) are mutually

exclusive” and that “[d]ebts resulting from fraud are therefore nondischargeable under section

523(a)(2) or not at all[,]” but acknowledging that its position was “decidedly the minority”

position).

       In the Husky case, the Supreme Court appears to have resolved this disagreement in the

case law, by holding that the same debt can be nondischargeable under both the “actual fraud”

provision of § 523(a)(2)(A) on the one hand, and § 523(a)(4) and/or § 523(a)(6) on the other hand.

The Court recognized that there is “overlap” among these § 523(a) sections, but noted that this is

“unremarkable” and “appears inevitable.” Husky, 136 S. Ct. at 1588. The Court also stated that

there are “redundancies” among these § 523(a) sections, but the Court described them as “narrow”

and “unavoidable.” Id. The Supreme Court explained:

               Ritz makes the unremarkable point that the traditional definition of
               “actual fraud” will cover some of the same conduct as those
               exceptions: for example, a trustee who fraudulently conveys away
               his trust’s assets. But Ritz’ interpretation does not avoid
               duplication, nor does our interpretation fail to preserve a meaningful
               difference between § 523(a)(2)(A) and §§ 523(a)(4), (6). Just as a
               fiduciary who engages in a fraudulent conveyance may find his debt
               exempted from discharge under either § 523(a)(2)(A) or
               § 523(a)(4), so too would a fiduciary who engages in one of the
               fraudulent misrepresentations that form the core of Ritz’ preferred
               interpretation of § 523(a)(2)(A). The same is true for § 523(a)(6).
               The debtors who commit fraudulent conveyances and the debtors
               who make false representations under § 523(a)(2)(A) could likewise
               also inflict “willful and malicious injury” under § 523(a)(6). There
               is, in short, overlap, but that overlap appears inevitable.
               And, of course, our interpretation of “actual fraud” in
               § 523(a)(2)(A) also preserves meaningful distinctions between that
               provision and § 523(a)(4), (a)(6). Section 523(a)(4), for instance,
               covers only debts for fraud while acting as a fiduciary, whereas


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                 § 523(a)(2)(A) has no similar limitation. Nothing in our
                 interpretation alters that distinction. And § 523(a)(6) covers debts
                 “for willful and malicious injury,” whether or not that injury is the
                 result of fraud, see Kawaauhau v. Geiger, 523 U.S. 57, 61, 118
                 S.Ct. 974, 140 L.Ed.2d 90 (1998) (discussing injuries resulting from
                 “intentional torts”), whereas § 523(a)(2)(A) covers only fraudulent
                 acts. Nothing in our interpretation alters that distinction either.
                 Thus, given the clear differences between these provisions, we see
                 no reason to craft an artificial definition of “actual fraud” merely to
                 avoid narrow redundancies in § 523 that appear unavoidable.

Id.

          The Supreme Court’s 2016 decision in the Husky case is not the first time the Supreme

Court has indicated that the same debt may be nondischargeable under more than one subsection

of § 523(a). The Supreme Court clearly indicated this in the 1986 case of Kelly v. Robinson, as

this Court noted in a prior opinion. See Michigan Unemployment Ins. Agency v. Kozlowski (In re

Kozlowski), 547 B.R. 222, 234 (Bankr. E.D. Mich. 2016), aff’d, No. 16–11323, 2016 WL

6405806 (E.D. Mich. October 28, 2016), (footnotes omitted) (“Th[e] dictum in Kelly v. Robinson,

[479 U.S. 36, 42 & n.n.3-4 (1986), “that . . . not only was the criminal fraud restitution debt in that

case nondischargeable under § 523(a)(7)(as the Court held), but also such debt could have been

found nondischargeable under 11 U.S.C. § 523 (a)(4), as a debt for ‘larceny,’ if a

nondischargeability claim under § 523(a)(4) had been timely made (which it was not)”] clearly

negates any rule that the same debt can never be covered by more than one subsection of

§ 523(a).”).

          The third issue the Court will discuss is what the Court sees as a fatal flaw in Lenchner’s

and the Lenchner Entities’ § 523(a)(6) collateral estoppel argument. Based on the state court jury

instructions, the Court agrees with Sheldon that the § 523(a)(6) element of “willfulness” was not



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“actually litigated” in the state court, with respect to any of the counterclaims on which the jury

rendered a verdict, and therefore with respect to any part of the state court Judgment entered

against Sheldon and the other Korns.

        As discussed in Part III.B of this opinion, in order for a Michigan state court judgment to

have preclusive effect in this Court on an issue, under the doctrine of collateral estoppel, the issue

must have been both “actually litigated” and “necessarily determined” in the state court action.

“Under Michigan law, an issue is ‘actually litigated’ if it is ‘put into issue by the pleadings,

submitted to the trier of fact for determination, and is thereafter determined.’” Pixley I, 456 B.R.

at 778 (citations omitted). In this case, the trier of fact was the jury, and the jury instructions are

what show whether or not any given issue was “submitted to” the jury. And the combination of

the jury instructions and the verdict forms shows what was “thereafter determined” by the jury.

        As noted above, § 523(a)(6)’s “willful and malicious injury” provision requires that the

injury be both “willful” and “malicious.” And “to find a ‘willful’ injury under § 523(a)(6), [the

court] must determine either that (I) the actor desired to cause the consequences of the act or (ii)

the actor believed that the given consequences of his act were substantially certain to result from

the act.” Pixley I, 456 B.R. at 785 (citations omitted).

        In considering whether the § 523(a)(6) issue of “willfulness” was submitted to and

determined by the jury in the State Court Lawsuit, it is important to keep in mind the distinction

between a deliberate or intentional injury on the one hand, and a deliberate or intentional act that

leads to injury on the other hand. As the Supreme Court held in Kawaauhau v. Geiger, 523 U.S.

57, 61-62 (1998),

                The word “willful” in [§ 523](a)(6) modifies the word “injury,”


                                                   53



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                indicating that nondischargeability takes a deliberate or intentional
                injury, not merely a deliberate or intentional act that leads to injury.
                . . . Moreover, . . . the [§ 523](a)(6) formulation triggers in the
                lawyer’s mind the category “intentional torts,” as distinguished from
                negligent or reckless torts. Intentional torts generally require that the
                actor intend “the consequences of an act,” not simply “the act
                itself.”

(italics in original) (citations omitted). Thus, to establish “willfulness” under § 523(a)(6) it is not

enough merely to show that a debtor intentionally committed an act, and the act caused injury or

damage. The debtor must have intended his act to cause injury or damage, or at least must have

“believed that the given consequences of his act were substantially certain to result from the act.”

See Pixley I, 456 B.R. at 785, and cases cited therein.

         The issue of such “willfulness” was not submitted to the jury, and therefore was not

“determined” by the jury in the State Court Lawsuit, with respect to any claim or component of

the Judgment against Sheldon and the other Korns. In this context, “willfulness” means that

Sheldon either (1) intended (“desired”) to cause the injury or injuries to Lenchner and the

Lenchner Entities that made up their damages; or (2) believed that the injury or injuries “were

substantially certain to result from” his act(s).

         The jury was not instructed that it needed to determine this with respect to any of the

counterclaims, or even with respect to exemplary damages. This conclusion follows from a

careful examination of the jury instructions.

         The jury verdicts on the counterclaims at issue, and the resulting component of the

Judgment against Sheldon, were these:

     •   $250,000       Fraud and Misrepresentation
     •   $1,070,000     Silent Fraud
     •   $175,000       Unjust Enrichment


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    •     $250,000         Breach of Fiduciary Duty
    •     $250,000         Exemplary Damages
          $1,995,000       Total Judgment amount against Sheldon

The relevant jury instructions and jury verdict forms are all quoted in full, in Part I.A.2.a and

I.A.2.b of this opinion. The verdict forms themselves contain no instructions to the jury. The

Court will now discuss the jury instructions regarding each of the above components of the

Judgment. (For purposes of the following discussion, the Court will sometimes refer to Lenchner

and the Lenchner Entities collectively as the “Plaintiffs.” They are the Plaintiffs in this adversary

proceeding; they were the defendants and counter-plaintiffs in the State Court Lawsuit).

a. Fraud and Misrepresentation

        In substance, the jury instruction for this claim permitted the jury to find against Sheldon

and the other Korns if it determined that (1) they made a false representation of a material fact; (2)

knew the representation was false when they made it “or made [it] recklessly, that is, without

knowing whether it was true;” (3) they intended Plaintiffs to rely on the representation; (4)

Plaintiffs did so rely; and (5) Plaintiffs were damaged as a result of such reliance.77

        Given this instruction, the jury could have found against Sheldon and the other Korns

without finding that Sheldon or any of the other Korns either (a) intended the damage that resulted

from Plaintiffs’ reliance on the false representation(s), or (b) believed that such damage to the

Plaintiffs was “substantially certain to result from” their act(s) of making the false

representation(s). The instruction merely required that Sheldon and the other Korns intended that

Plaintiffs rely on the representation(s), not that Sheldon and the other Korns intended that the



          77
               Trial Tr. in State Court Lawsuit (dated May 26, 2006) at 77 ln. 21 through 78 ln. 11 (emphasis
added).

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Plaintiffs be damaged by such reliance. Moreover, the instruction did not even require the jury to

find that Sheldon and the other Korns made any false representation knowing it was false — it

was sufficient if they merely made the representation without knowing if it was true or not (i.e.,

“recklessly”).

        For these reasons, the Court cannot find that the § 523(a)(6) willfulness element was either

submitted to the jury or that it was determined by the jury, with respect to the $250,000 “Fraud

and Misrepresentation” component of the jury verdict and Judgment. Therefore, this issue was

not “actually litigated,” and collateral estoppel does not apply.

        The Court’s foregoing close scrutiny of the language of the jury instructions is not mere

nit-picking by the Court; rather, it is necessary. In order to find that collateral estoppel precludes

Sheldon from contesting § 523(a)(6) “willfulness,” this Court must find “clearly, definitely, and

unequivocally” that this issue was “actually litigated” — i.e., that it was submitted to the jury by

the jury instructions and determined by the jury. See Chamberlain v. Messer (In re Messer), 500

B.R. 875, 882 (Bankr. E.D. Mich. 2013) (“Under Michigan law, ‘[c]ollateral estoppel applies only

where the basis of the prior judgment can be ascertained clearly, definitely, and unequivocally.’

People v. Gates, 434 Mich. 146, 452 N.W.2d 627, 631 (1990).”).

b. Silent Fraud

        In substance, the jury instruction for this claim permitted the jury to find against Sheldon

and the other Korns if it determined that (1) they failed to disclose a material fact; (2) they

actually knew of the fact; (3) their failure to disclose the fact caused Plaintiffs to have a false

impression, and Sheldon and the other Korns knew it; (4) Sheldon and the other Korns intended

Plaintiffs to rely on such false impression; (5) Plaintiffs did rely on such false impression; and


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(6) Plaintiffs were damaged as a result of such reliance.

       Given this instruction, the jury could have found against Sheldon and the other Korns

without finding that Sheldon or any of the other Korns either (a) intended the damage that resulted

from Plaintiffs’ reliance on the false impression created by Sheldon and the other Korns, or (b)

believed that such damage to the Plaintiffs was “substantially certain to result from” their act(s) of

failing to disclose the material fact. The instruction merely required that Sheldon and the other

Korns intended that Plaintiff’s rely on the false impression created by the non-disclosure of

material fact, not that the Plaintiffs be damaged by such reliance.

       Plaintiffs Lenchner and the Lenchner Entities (who were the counter-plaintiffs in the State

Court Lawsuit) take the view that Sheldon must have either intended Plaintiffs to suffer the

damages they did, or must have known Plaintiffs would suffer such damages. This is because of

the view Plaintiffs take of their fraud and silent fraud claims against Sheldon and the other Korns,

and for that matter their other claims. Plaintiffs’ view is that their claims are mostly about how

Sheldon and the other Korns engaged in a scheme with each other to fraudulently induce Lenchner

to invest and continue to invest money in the Lenchner Entities, and then continually loot those

entities by siphoning money from them for personal use, all the while concealing such looting

from Lenchner. And the Court of Appeals opinion that affirmed the state court Judgment echoed

this theme, holding that the jury reasonably could have found it to be true. But the Court of

Appeals did not hold that this is what the jury did find when it rendered its verdicts against

Sheldon and the other Korns, or that all of the damages awarded by the jury were based on such a

fraudulent looting scheme. And there is nothing at all in the jury instructions about such a looting

scheme.


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       This Court cannot base its collateral estoppel ruling on what the jury could have found, or

might have found, when it rendered its verdicts on the counterclaims against Sheldon and the

other Korns. Rather, the Court must base its collateral estoppel ruling on what issues and

elements were submitted to the jury for determination (i.e., the jury instructions) and what the

jury’s verdict forms say. That approach is compelled by (1) the collateral estoppel requirement

that an issue must have been “actually litigated” (submitted to the trier of fact and determined);

and (2) the requirement under Michigan law that a court may apply collateral estoppel to preclude

litigation of an issue only when “the basis of the prior judgment can be ascertained clearly,

definitely, and unequivocally.’” See Chamberlain, 500 B.R. at 882 (quoting People v. Gates, 434

Mich. 146, 452 N.W.2d 627, 631 (1990)).

       For these reasons, the Court cannot find that the § 523(a)(6) “willfulness” element was

either submitted to the jury or that it was determined by the jury, with respect to the $1,070,000

“Silent Fraud” component of the jury verdict and Judgment. Therefore, this issue was not

“actually litigated,” and collateral estoppel does not apply.

c. Unjust enrichment

       In substance, the jury instruction for this claim permitted the jury to find against Sheldon

and the other Korns if it determined that (1) Sheldon and other Korns received “a benefit” from

the Plaintiffs, which was not the subject of an “actual express contract” between the parties; and

(2) retention of that benefit by Sheldon and the other Korns would be “an inequity.”

       Given this instruction, the jury obviously could have found against Sheldon and the other

Korns without finding that Sheldon or any of the other Korns either (a) intended to injure or

damage Plaintiffs by the receipt and retention of a “benefit” from Plaintiffs; or (b) believed that


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such injury or damage to the Plaintiffs was “substantially certain to result from” their act(s) of

receiving and retaining the “benefit.” Such things clearly were not part of this jury instruction.

       For these reasons, the Court cannot find that the § 523(a)(6) willfulness element was either

submitted to the jury or that it was determined by the jury, with respect to the $175,000 “Unjust

Enrichment” component of the jury verdict and Judgment. Therefore, this issue was not “actually

litigated,” and collateral estoppel does not apply.

d. Breach of Fiduciary Duty

       In substance, the jury instruction for this claim permitted the jury to find against Sheldon

and Gale Korn if it determined that they had, and breached, a “fiduciary relationship” with the

Plaintiffs; and that Plaintiffs “were damaged as a result of” the breach. And the instructions told

the jury that it could find a “breach” of “fiduciary duty” by Sheldon and Gale Korn if it found any

one of the following three things: that Sheldon or Gale Korn either “failed to fulfill their

obligations or duties to act with the utmost good faith and integrity in their dealings with one

another in partnership affairs,” or “failed to fulfill their obligations or duty to disclose all known

information that is significant and material to the affairs or property of the partnership;” or “failed

to fulfill their obligation or duty to account to the partnership for any benefit and hold as trustee

for it any profits derived by them without the consent of the plaintiffs or other partners from any

transaction connected with the conduct or partnership . . . or from any use by themselves of

partnership property.”78

       Thus, the jury instructions required the jury to determine whether Plaintiffs were damaged

as a result of any such breach of fiduciary duty, but not whether Sheldon or Gale Korn either (a)


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             Trial Tr. in State Court Lawsuit (Docket # 27, Ex. G; Docket # 37, Ex. 1) at 88-89.

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intended the damage that resulted to Plaintiffs from their breach of fiduciary duty; or (b) believed

that such damage to the Plaintiffs was “substantially certain to result from” their act(s) of

breaching their fiduciary duty. Rather, the jury instructions said nothing about what Sheldon and

Gale Korn intended, or what they believed; so the instructions did not instruct the jury to find

anything about that subject.

       For these reasons, the Court cannot find that the § 523(a)(6) willfulness element was either

submitted to the jury or that it was determined by the jury, with respect to the $250,000 “Breach

of Fiduciary Duty” component of the jury verdict and Judgment. Therefore, this issue was not

“actually litigated,” and collateral estoppel does not apply.

e. Exemplary Damages

       The Court will quote the jury instruction on exemplary damages in full, with appropriate

names for the parties inserted for ease of reading:

                         In addition to actual damages, the law permits the jury,
                 under certain circumstances, to award the injured party exemplary
                 damages. If you should find, by a preponderance of the evidence,
                 that [Plaintiffs are] entitled to a verdict of actual or compensatory
                 damages and further find that [Sheldon’s or the other Korns’] acts
                 which caused actual damages to the [Plaintiffs] were maliciously,
                 willfully, and wantonly done, then you may add to the award of
                 actual damages an amount you agree is proper as exemplary
                 damages.

                         An act or failure to act is maliciously done if prompted or
                 accompanied by ill-will, spite or grudge toward the injured party.
                 An act or a failure to act is wantonly done if done in reckless or
                 callous disregard of or indifference to the rights of one or more
                 persons, including the injured party. An act or a failure to act is
                 willfully done if done voluntarily and intentionally and with specific
                 intent to do something the law forbids.79


        79
             Id. at 76 ln. 24 through 77 ln. 18.

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        This jury instruction immediately preceded the instructions regarding the underlying

claims (fraud and misrepresentation; silent fraud; promissory estoppel; unjust enrichment; breach

of fiduciary duty), and notably, this instruction on exemplary damages was not linked to any one

or more of the specific underlying claims, nor did it require the jury to link any award of

exemplary damages to any specific underlying claim(s), either in its deliberations or in its verdict

forms. It is therefore impossible to determine which of the underlying claims the exemplary

damage award was linked to by the jury.

        In any event, the jury instructions permitted the jury to award exemplary damages against

Sheldon and the other Korns by finding that their “acts which caused actual damages to the

[Plaintiffs] were maliciously, willfully, and wantonly done.” To find these three elements, the

jury had to find that the acts by Sheldon and the other Korns: (1) “were prompted or accompanied

by ill-will, spite or grudge toward the [Plaintiffs]” (“maliciously done”); and (2) “done in reckless

or callous disregard of or indifference to the rights of [Plaintiffs]” (“wantonly done”); and (3)

“done voluntarily and intentionally and with specific intent to do something the law forbids”

(“willfully done”).

        The jury could have found against Sheldon and the other Korns on the first two of these

three requirements (“maliciously done” and “wantonly done”) without finding that any of their

“acts which caused actual damages to the [Plaintiffs]” were done either (a) with the intent to cause

the actual damages to Plaintiffs; or (b) with the belief that such damages to the Plaintiffs were

“substantially certain to result from” their acts.

        The third of these requirements (“willfully done”) presents a closer question, but the Court

concludes that the jury instructions permitted the jury to find this requirement without finding an


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intent or belief by Sheldon that satisfies the § 523(a)(6) “willfulness” definition. The jury

instruction on this third exemplary damages requirement (“willfully done”) required the jury to

find that the acts done by Sheldon and the other Korns which caused actual damages to Plantiffs

were (1) voluntarily and intentionally done; and (2) done “with specific intent to do something the

law forbids.” This intent requirement — i.e., intent to “do something the law forbids” — is not

the same as intent to cause injury or damage. The jury instruction permitted the jury to award

exemplary damages against Sheldon and the other Korns without finding that their “acts which

caused actual damages to the [Plaintiffs]” were done either (a) with the intent to cause the actual

damages to Plaintiffs; or (b) with the belief that such damages to the Plaintiffs were “substantially

certain to result from” their acts.

        For these reasons, the Court cannot find that the § 523(a)(6) willfulness element was either

submitted to the jury or that it was determined by the jury, with respect to the $250,000

“Exemplary Damages” component of the jury verdict and Judgment. Therefore, this issue was not

“actually litigated,” and collateral estoppel does not apply.

        For the foregoing reasons, and consistent with the requirement that “exceptions to

discharge are to be strictly construed against the creditor,” Rembert, 141 F.3d at 281 (citation

omitted), the Court cannot find that the § 523(a)(6) “willfulness” requirement was an issue that

was “actually litigated” with respect to any component of the jury verdict and resulting Judgment.

And the Court certainly cannot find, as it must, that this issue was “clearly, definitely, and

unequivocally” an issue that was “actually litigated.” As a result, the Court cannot grant summary

judgment for Plaintiffs on any aspect of their § 523(a)(6) claim (Count VIII).

IV. Conclusion


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       For the reasons stated in this opinion, the Court will enter an order denying Plaintiffs’

summary judgment motion in its entirety.


Signed on April 14, 2017                              /s/ Thomas J. Tucker
                                                      Thomas J. Tucker
                                                      United States Bankruptcy Judge




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